Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 1 of 58 PageID #: 892



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


THE DAILY WIRE, LLC et al.,

             Plaintiffs
      v.
                                                Civil Action No. 6:23-cv-00609 (JDK)
UNITED STATES DEPARTMENT
OF STATE et al.,

             Defendants.


                DEFENDANTS’ RESPONSE IN OPPOSITION TO
            PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                                    BRIAN M. BOYNTON
                                    Principal Deputy Assistant Attorney General

                                    JAMES J. GILLIGAN
                                    Special Litigation Counsel
                                    Federal Programs Branch

                                    JOSHUA E. GARDNER
                                    Special Counsel
                                    Federal Programs Branch

                                    DOROTHY M. CANEVARI
                                    CRISTEN C. HANDLEY
                                    CODY T. KNAPP
                                    ARJUN MODY
                                    Trial Attorneys
                                    U.S. Department of Justice
                                    Civil Division, Federal Programs Branch
                                    1100 L Street NW
                                    Washington, D.C. 20005
                                    Tel: (202) 451-7723
                                    Email: arjun.a.mody@usdoj.gov

                                    Counsel for Defendants
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 2 of 58 PageID #: 893



                                                          TABLE OF CONTENTS

INTRODUCTION ........................................................................................................................................... 1
ISSUE STATEMENT ...................................................................................................................................... 3
BACKGROUND .............................................................................................................................................. 4
            I.          Legal and Factual Background.............................................................................................. 4
                        A.           Congress tasked the State Department’s “Global Engagement Center” with
                                     exposing and countering foreign state and non-state propaganda and
                                     disinformation aimed at undermining or influencing the policies, security,
                                     or stability of the United States and its allies. ....................................................... 4
                        B.           GEC carried out various initiatives through a grant to Park Advisors. ............ 7
                        C.           NewsGuard’s and GDI’s other business. ............................................................12
            II.         This Litigation .......................................................................................................................14
LEGAL STANDARD ....................................................................................................................................15
ARGUMENT...................................................................................................................................................16
            I.          Plaintiffs fail to make the “clear showing” of standing required for a preliminary
                        injunction. ..............................................................................................................................16
                        A.           Texas lacks standing. ..............................................................................................17
                        B.           Media Plaintiffs lack standing................................................................................20
            II.         Plaintiffs fail to demonstrate irreparable harm. ................................................................29
            III.        Plaintiffs fail to demonstrate a likelihood of success on the merits of their
                        claims. .....................................................................................................................................31
                        A.           Media Plaintiffs are unlikely to succeed on their First Amendment
                                     claims. .......................................................................................................................31
                        B.           Plaintiffs are unlikely to succeed on their APA and Ultra Vires claims. ..........40
            IV.         The balance of equities and the public interest disfavor a preliminary injunction......44
            V.          Plaintiffs’ proposed injunction is improper. .....................................................................46
                        A.           The proposed injunction is imprecise. .................................................................46
                        B.           The proposed injunction is overbroad.................................................................47
CONCLUSION ...............................................................................................................................................49




                                                                                  i
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 3 of 58 PageID #: 894



                                                     TABLE OF AUTHORITIES

CASES

Ala. Rural Fire Ins. Co. v. Naylor,
  530 F.2d 1221 (5th Cir. 1976) ....................................................................................................................44

Am. Mfrs. Mut. Ins. Co. v. Sullivan,
 526 U.S. 40 (1999) .......................................................................................................................................33

Anyadike v. Vernon Coll.,
  2015 WL 12964684 (N.D. Tex. Nov. 20, 2015) .....................................................................................30

Ass’n of Am. Physicians & Surgeons v. Schiff,
  518 F. Supp. 3d 505 (D.D.C. 2021) ..........................................................................................................28

Bailey v. Mansfield Indep. Sch. Dist.,
  425 F. Supp. 3d 696 (N.D. Tex. 2019) .....................................................................................................37

Bailey v. Vaszauskas,
  2020 WL 3053942 (5th Cir. Feb. 28, 2020) .............................................................................................37

Bantam Books, Inc. v. Sullivan,
  372 U.S. 58 (1963) .......................................................................................................................................32

Barber v. Bryant,
  860 F.3d 345 (5th Cir. 2017) ......................................................................................................................17

Bd. of Regents of Univ. of Wis. Sys. v. Southworth,
  529 U.S. 217 (2000) .....................................................................................................................................39

Benisek v. Lamone,
  585 U.S. 155 (2018) .....................................................................................................................................30

Bennett v. Spear,
  520 U.S. 154 (1997) .............................................................................................................................. 41, 42

Blum v. Yaretsky,
   457 U.S. 991 (1982) ...............................................................................................................................passim

Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass’n,
  531 U.S. 288 (2001) ........................................................................................................................ 31, 35, 36

Burton v. Wilmington Parking Auth.,
  365 U.S. 715 (1961) .....................................................................................................................................36



                                                                              ii
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 4 of 58 PageID #: 895



Califano v. Yamasaki,
  442 U.S. 682 (1979) .....................................................................................................................................48

City of L.A. v. Lyons,
   461 U.S. 95 (1983) ................................................................................................................................ 17, 21

Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) ................................................................................................................. 18, 22, 23, 28

Ctr. for Biological Diversity v. U.S. EPA,
  937 F.3d 533 (5th Cir. 2019) ......................................................................................................................19

Danos v. Jones,
  652 F.3d 577 (5th Cir. 2011) ......................................................................................................................44

Davis v. Pension Benefit Guar. Corp.,
  571 F.3d 1288 (D.C. Cir. 2009) .................................................................................................................44

Def. Distributed v. U.S. Dep’t of State,
  838 F.3d 451 (5th Cir. 2016) ......................................................................................................................45

El Paso Cnty. v. Trump,
  982 F.3d 332 (5th Cir. 2020) ......................................................................................................................17

Frazier v. Bd. Of Trs. of N.W. Miss. Reg. Med. Ctr.,
  765 F.2d 1278 (5th Cir. 1985) ....................................................................................................................36

Geyen v. Marsh,
  775 F.2d 1303 (5th Cir. 1985) ....................................................................................................................43

Google, Inc. v. Hood,
  822 F.3d 212 (5th Cir. 2016) ......................................................................................................................29

H.D. Vest, Inc. v. H.D. Vest Mgmt. & Servs., LLC,
  2009 WL 1766095 (N.D. Tex. June 23, 2009).................................................................................. 30, 31

Holland Am. Ins. Co. v. Succession of Roy,
  777 F.2d 992 (5th Cir. 1985) ......................................................................................................................37

Hotze v. Burwell,
  784 F.3d 984 (5th Cir. 2015) ......................................................................................................................17

Humana, Inc. v. Jacobson,
  804 F.2d 1390 (5th Cir. 1987) ....................................................................................................................29

Inclusive Cmtys. Project, Inc. v. Dep’t of Treasury,
   946 F.3d 649 (5th Cir. 2019) ............................................................................................................... 23, 28

                                                                             iii
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 5 of 58 PageID #: 896



Jordan v. Fisher,
   823 F.3d 805 (5th Cir. 2016) ......................................................................................................................15

Justin Indus., Inc. v. Choctaw Secs., L.P.,
   920 F.2d 262 (5th Cir. 1990) ......................................................................................................................29

Kennedy v. Warren,
  66 F.4th 1199 (9th Cir. 2023).....................................................................................................................38

La. Div. Sons of Confederate Veterans v. City of Natchitoches,
  821 F. App’x 317 (5th Cir. 2020) ....................................................................................................... 34, 35

Leaf Trading Cards, LLC v. Upper Deck Co.,
  2019 WL 7882552 (N.D. Tex. Sept. 18, 2019) ........................................................................................30

Leedom v. Kyne,
  358 U.S. 184 (1958) .....................................................................................................................................44

Lugar v. Edmondson Oil Co.,
  457 U.S. 922 (1982) .....................................................................................................................................35

Lujan v. Defs. of Wildlife,
  504 U.S. 555 (1992) ................................................................................................................. 17, 19, 23, 28

Lujan v. Nat’l Wildlife Found.,
  497 U.S. 871 (1990) .............................................................................................................................. 41, 42

Manhattan Cmty. Access Corp. v. Halleck,
 587 U.S. 802 (2019) .............................................................................................................................. 31, 37

Martinez v. Mathews,
 544 F.2d 1233 (5th Cir. 1976) ....................................................................................................................15

Mayo Found. for Med. Educ. & Rsch. v. BP Am. Prod. Co.,
 447 F. Supp. 3d 522 (N.D. Tex. 2020) .....................................................................................................44

Millennium Funding, Inc. v. 1701 Mgmt. LLC,
  2021 WL 3618227 (S.D. Fla. Aug. 16, 2021) ...........................................................................................31

Missouri v. Biden,
  83 F.4th 350 (5th Cir. 2023),
  cert. granted sub nom., Murthy v. Missouri, 144 S. Ct. 7 (2023) ..............................................................passim

Mood v. Cnty. of Orange,
 2019 WL 13036027 (C.D. Cal. July 25, 2019) .........................................................................................21



                                                                             iv
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 6 of 58 PageID #: 897



Munaf v. Geren,
 553 U.S. 674 (2008) .....................................................................................................................................15

Nat’l Endowment for the Arts v. Finley,
  524 U.S. 569 (1998) .....................................................................................................................................38

NCAA v. Tarkanian,
 488 U.S. 179 (1988) .............................................................................................................................. 35, 36

NetChoice, LLC v. Paxton,
  49 F.4th 439 (5th Cir. 2022), cert. granted in part, 144 S. Ct. 477 (2023) ................................................18

NetChoice, LLC v. Paxton,
  573 F. Supp. 3d 1092 (W.D. Tex. 2021) ..................................................................................................18

NetChoice, LLC v. Paxton,
  2022 WL 1537249 (5th Cir. May 11, 2022), vacated, 142 S. Ct. 1715 (2022) .......................................18

Nken v. Holder,
 556 U.S. 418 (2009) .....................................................................................................................................44

Norton v. S. Utah Wilderness All.,
  542 U.S. 55 (2004) .......................................................................................................................................42

Nyunt v. Chairman, Broad. Bd. of Governors,
  589 F.3d 445 (D.C. Cir. 2009) ...................................................................................................................44

Oestereich v. Selective Serv. Sys. Loc. Bd. No. 11,
  393 U.S. 233 (1968) .....................................................................................................................................44

O’Shea v. Littleton,
  414 U.S. 488 (1973) .............................................................................................................................. 17, 21

Pals Grp., Inc. v. Quiskeya Trading Corp.,
  2017 WL 532299 (S.D. Fla. Feb. 9, 2017) ................................................................................................31

Pennhurst State Sch. & Hosp. v. Halderman,
  465 U.S. 89 (1984) .......................................................................................................................................44

Penthouse Int’l, Ltd. v. Meese,
  939 F.2d 1011 (D.C. Cir. 1991) .................................................................................................... 38, 39, 40

Polar Tankers, In. v. City of Valdez,
   557 U.S. 1 (2009) .........................................................................................................................................40

Qureshi v. Holder,
  663 F.3d 778 (5th Cir. 2011) ......................................................................................................................41

                                                                               v
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 7 of 58 PageID #: 898



Rendell-Baker v. Kohn,
  457 U.S. 830 (1982) .....................................................................................................................................33

Schmidt v. Lessard,
   414 U.S. 473 (1974) .....................................................................................................................................46

Scott v. Schedler,
   826 F.3d 207 (5th Cir. 2016) ............................................................................................................... 46, 48

Seiko Kabushiki Kaisha v. Swiss Watch Int’l, Inc.,
   188 F. Supp. 2d 1350 (S.D. Fla. 2002)......................................................................................................31

Shurtleff v. City of Bost.,
  596 U.S. 243 (2022) .....................................................................................................................................39

Sierra Club v. Peterson,
   228 F.3d 559 (5th Cir. 2000) ............................................................................................................... 41, 42

Simon v. E. Ky. Welfare Rights Org.,
  426 U.S. 26 (1976) .......................................................................................................................................23

Soc’y of Separationists, Inc. v. Herman,
   959 F.2d 1283 (5th Cir. 1992) ....................................................................................................................27

Spokeo, Inc. v. Robins,
  578 U.S. 330 (2016) .....................................................................................................................................17

Telephone & Data Sys., Inc. v. FCC,
   19 F.3d 42 (D.C. Cir. 1994)........................................................................................................................18

Texas v. EEOC,
  933 F.3d 433 (5th Cir. 2019) ......................................................................................................................20

TransUnion LLC v. Ramirez,
  594 U.S. 413 (2021) .....................................................................................................................................17

Utah v. Evans,
  536 U.S. 452 (2002) .....................................................................................................................................28

Valley Forge Christian Coll. v. Ams. United for Separation of Church & State, Inc.,
 454 U.S. 464 (1982) .....................................................................................................................................16

Walker v. Tex. Div., Sons of Confederate Veterans, Inc.,
 576 U.S. 200 (2015) .............................................................................................................................. 38, 40

Winter v. Nat. Res. Def. Council, Inc.,
  555 U.S. 7 (2008) ...................................................................................................................................passim

                                                                             vi
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 8 of 58 PageID #: 899



ZeptoLab UK Ltd. v. Commonwealth Toy & Novelty Co.,
  2012 WL 4761501 (S.D.N.Y. Aug. 23, 2012) ..........................................................................................27


U.S. CONSTITUTION

U.S. Const. art. III, § 2 ....................................................................................................................................16


STATUTES AND RULES

5 U.S.C. § 702 ...................................................................................................................................................44

5 U.S.C. § 704 ...................................................................................................................................................41

5 U.S.C. § 706 ............................................................................................................................................ 41, 43

22 U.S.C. § 2651 .......................................................................................................................................... 4, 42

22 U.S.C. § 2656 .........................................................................................................................................passim

Act of Oct. 21, 1976,
  Pub. L. No. 94-574, 90 Stat. 2721 ...................................................................................................... 43, 44

Fed. R. Civ. P. 65 .............................................................................................................................................46


REGULATIONS

Exec. Order No. 13721,
  81 Fed. Reg. 14,685 (Mar. 14, 2016) ........................................................................................................... 4


OTHER AUTHORITIES

11A Charles A. Wright, Arthur R. Miller & Mary K. Kane,
  Fed. Prac. & Proc. Civ. § 2948.1 (3d ed. 2013) .......................................................................................29

Becera, https://perma.cc/5V8K-MKVJ ........................................................................................................ 8

Tex. Civ. Prac. & Rem. Code Ann. § 143A .................................................................................................18




                                                                                vii
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 9 of 58 PageID #: 900



                                           INTRODUCTION

        In this case, two press outlets, The Daily Wire and Federalist Media (Media Plaintiffs), as well

as the state of Texas, assert that the State Department and one of its offices, the Global Engagement

Center (GEC), have engaged in “one of the most egregious government operations to censor the

American press in the history of the nation.” Complaint at 1, ECF No 1. Largely on the basis of

similarly hyperbolic allegations, and two months after filing this suit, Plaintiffs now seek the

extraordinary remedy of a preliminary injunction. But Plaintiffs have demonstrated none of the factors

necessary for such emergency relief and therefore Plaintiffs’ request should be denied. Moreover, as

Defendants will demonstrate in a forthcoming, separate motion, the Complaint should be dismissed

for lack of subject-matter jurisdiction.

        GEC is an office tasked by Congress with an essential foreign policy mission to respond to

urgent, novel, and rapidly evolving threats from disinformation campaigns waged by America’s foreign

adversaries. As used here, “disinformation” is false or misleading information that is created and

spread with the intent to deceive. Foreign state actors such as Russia, China, and their respective state

media entities, and foreign non-state actors such as foreign terrorist organizations, utilize

disinformation to destabilize societies and to strategically advance their policy goals, including, in some

cases, military action. GEC carries out its mandate to combat such foreign state and non-state

disinformation through a number of statutorily-defined activities, including by facilitating the federal

government’s use of technology. In short, Congress recognized that technology is critical to GEC’s

mission because the overwhelming majority of disinformation from foreign state and non-state actors

is spread online. Countering such disinformation therefore requires understanding how technology

can be harnessed to address the threat.

        Plaintiffs allege that GEC and other entities on its behalf have, in the past, issued grants to

and otherwise “promoted” two private companies. Those companies have created products that


                                                    1
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 10 of 58 PageID #: 901



evaluated the veracity and reliability of information reported by Media Plaintiffs (among many other

news organizations). Plaintiffs further allege that other unidentified third parties—businesses and social

media companies—license those products and use them to make decisions about where to spend

advertising dollars or how to prioritize content on their websites in a way that harms Media Plaintiffs’

businesses, causes them to self-censor, and interferes with Texas’s ability to enforce a currently

enjoined state law that regulates content-moderation decisions by social media companies. But the

record confirms that GEC’s relevant activities exclusively targeted foreign disinformation aimed at

undermining the interests of the United States and its allies. Moreover, Plaintiffs’ claims depend

entirely on a sequence of independent actions by private third parties that are not before the Court.

These problems, among others, mean that Plaintiffs do not prevail on any of the preliminary injunction

factors.

           First, as a threshold matter, Plaintiffs’ claims suffer from a central Article III problem because

they depend on a “speculative chain of possibilities” that cannot establish any injury-in-fact that is

“certainly impending” and traceable to Defendants’ conduct or redressable by this Court. Adding to

that, multiple links in their alleged causal chain are conclusively contradicted by the record. Foremost,

GEC’s funding and support to the only two private entities that Plaintiffs identify—the Global

Disinformation Index and NewsGuard—focused exclusively on developing technologies to combat

foreign malign disinformation aimed at undermining the policies, security, or stability of the United

States and its foreign allies and partners overseas. That funding did not support those entities’ separate

products that purportedly caused Media Plaintiffs’ injuries. Texas independently lacks standing for

multiple reasons. Plaintiffs fail to adduce evidence showing how Defendants’ funding of technology

aimed at countering foreign disinformation has interfered with Texas’s ability to enforce its law that

regulates content-moderation on social media platforms. Nor have Defendants interfered with Texas’s

ability to enforce a statute that has never been in effect, because it has been enjoined.


                                                       2
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 11 of 58 PageID #: 902



        Second, Plaintiffs are not suffering any current or impending irreparable harm. Even if they

were injured by any past actions by GEC (they were not), past injuries alone are not a basis for

preliminary injunctive relief, and the record shows that there is no ongoing conduct by Defendants

threatening Plaintiffs with an imminent, irreparable injury. Plaintiffs’ significant delay in seeking this

emergency relief also weighs against a finding of imminent, irreparable harm.

        Third, Plaintiffs are unlikely to succeed on their claims. (A) Media Plaintiffs are unlikely to

succeed on the merits of their First Amendment claims because they have failed to demonstrate that

Defendants violated or imminently will violate their First Amendment rights. GEC funded projects

solely addressing foreign malign disinformation—projects that did not implicate either the First

Amendment or any speech by Media Plaintiffs. Indeed, the evidence shows that Plaintiffs’ challenges

center on the actions of private actors and have nothing to do with the identified projects funded by

GEC. Nor have they demonstrated the requisite connection between the government’s conduct and

the conduct of private parties sufficient to convert any private conduct into government action. (B)

Plaintiffs are also unlikely to succeed on their Administrative Procedure Act (APA) or ultra vires claims,

because they have not challenged an identifiable final agency action or demonstrated that GEC has

taken any action outside its statutory mandate.

        Finally, the balance of equities and public interest weigh heavily against emergency relief, as

Plaintiffs’ proposed preliminary injunction would chill a wide range of legitimate and essential

government activity in the foreign affairs and national security arena. And the proposed injunction

violates Rule 65 because it is both imprecise and overbroad.

                                        ISSUE STATEMENT

        Are Plaintiffs entitled to the extraordinary remedy of a preliminary injunction?




                                                    3
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 12 of 58 PageID #: 903



                                             BACKGROUND

I.      Legal and Factual Background

        A. Congress tasked the State Department’s “Global Engagement Center” with
           exposing and countering foreign state and non-state propaganda and
           disinformation aimed at undermining or influencing the policies, security, or
           stability of the United States and its allies.

        Disinformation is false or misleading information that is deliberately created or spread with

the intent to deceive or mislead. Decl. of Daniel Kimmage, Principal Deputy Coordinator, Glob.

Engagement Ctr., U.S. Dep’t of State ¶ 5 (“Kimmage Decl.”) (Ex. 1). Disinformation and propaganda

from foreign state and non-state actors—or “[f]oreign information manipulation”—is a quick and

relatively cheap way for countries such as Russia and China to destabilize societies, including the

United States and its allies. Id. ¶¶ 5-6; 22 U.S.C. § 2656 note (Global Engagement Center). It is thus a

major national security concern to the United States. See Kimmage Decl. ¶ 5; 22 U.S.C. § 2656 note

(Global Engagement Center). For example, disinformation is one of Russia’s most important and far-

reaching tools in support of its full-scale invasion of Ukraine. Kimmage Decl. ¶ 5. Russia’s intelligence

services are able to operate and influence websites that present themselves as news outlets to spread

lies and sow discord. Id. ¶ 6. Similarly, China invests billions of dollars annually on its foreign

information manipulation efforts. Id. ¶ 7.

        Congress entrusted the State Department, led by the Secretary of State, with the management

of foreign affairs. See 22 U.S.C. § 2651 (codifying the establishment of the State Department); id. §

2656. Recognizing the need for government action to counter disinformation from foreign state and

non-state actors, Congress directed the Secretary of State to establish the “Global Engagement

Center” within the Department.1 See 22 U.S.C. § 2656 note (Global Engagement Center). GEC’s


1
 Beforehand, in 2016, the President signed an executive order which established the Global
Engagement Center with a more limited focus. See Exec. Order No. 13721 (Mar. 14, 2016). Under
that executive order, GEC supported government-wide counterterrorism communications activities
directed abroad. See id.
                                                   4
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 13 of 58 PageID #: 904



mission is to “direct, lead, synchronize, integrate, and coordinate efforts of the Federal Government

to recognize, understand, expose, and counter foreign state and non-state propaganda and

disinformation efforts aimed at undermining or influencing the policies, security, or stability of the

United States[, its] allies[,] and partner nations.” Id.

        GEC plays an essential role in coordinating U.S. government efforts and leading the global

response to such foreign information manipulation. Kimmage Decl. ¶ 8. A central part of this effort

is understanding the technologies that support the spread of foreign disinformation and propaganda

and how technology can be harnessed to counter such spread. Id. GEC carries out its statutory mission

to counter propaganda and disinformation from foreign state and non-state actors along five lines of

effort: (1) analytics and research, (2) international partnerships, (3) programs and campaigns, (4)

exposure, and (5) technology assessment and engagement. Id. ¶ 4. Through these means, GEC’s

Russia, China, Iran, and Counterterrorism teams seek to build societal and institutional resilience

against foreign propaganda and disinformation abroad. See id.

        One of the statutorily-defined functions of GEC is to “[f]acilitate the use of a wide range of

technologies and techniques by sharing expertise among Federal departments and agencies, seeking

expertise from external sources, and implementing best practices.” See 22 U.S.C. § 2656 note (Global

Engagement Center). In furtherance of this function, GEC’s Technology Engagement Team (TET)

identifies, assesses, tests, and implements technology to address the problem of foreign propaganda

and disinformation. Kimmage Decl. ¶ 10. TET has historically carried out this mission through several

initiatives. Id. ¶ 11. Its Tech Demo Series, for example, was a forum for private sector companies to

present their technologies to an audience of U.S. government and foreign government officials, and

explain how these technological tools could be used to counter foreign state and non-state information

manipulation. Id. Invitations to present at a Demo were not endorsements of the company’s

technological tools, but rather an opportunity for government officials to discuss how the tools could


                                                       5
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 14 of 58 PageID #: 905



be used to advance their missions. Id. For example, during one Demo, an academic institution

presented an experimental artificial intelligence algorithm to analyze country-level censorship

technology in places like China and Iran. Id. The Tech Demo Series ended in summer 2023 when

GEC determined that it was no longer a critical effort, as it balanced limited resources and competing

priorities. Id. ¶ 21.

         Relatedly, GEC engages in short-term collaborations with other federal agencies through

TET’s “testbeds.” Id. ¶ 11. In a testbed, GEC and another U.S. government entity work to identify a

technological gap that exists for that entity in countering foreign information manipulation, and a

potential technological solution to fill that gap. Id. Thereafter, those participants execute a statement

of work outlining the objective of the testbed, the expectations of the participants, and stated

deliverables for that test; and jointly evaluate the work performed. Id.

         Similarly, TET hosts international tech challenges, which are typically one-or-two-day public

events held abroad to develop partnerships with technology entities based outside the United States.

Id. GEC, either directly or through a third-party implementer (such as a grantee or contractor), invites

technologists from a specific country or region to submit applications to present innovative solutions

to counter foreign information manipulation overseas to a panel of judges and an audience of

government, civil society, private sector, and academic stakeholders. Id. Up to three awardees are

selected to receive an award from GEC—such as a grant, contract, subgrant, or subcontract—to

perform a short-term project in accordance with conditions outlined in a statement of work. Id.

         GEC catalogued and compiled its assessments of these technologies in a grantee-maintained

open-source, unclassified platform called Disinfo Cloud, a repository to catalog technologies to

counter foreign propaganda and disinformation. Id. Specifically, testbed results were posted on the

Disinfo Cloud platform primarily for use by U.S. government agencies and foreign partners. Id. ¶ 14.

         Finally, GEC has a private sector engagement portfolio to facilitate collaboration between U.S.


                                                   6
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 15 of 58 PageID #: 906



government and the tech sector, academia, and the research community, on the topic of foreign

information manipulation overseas. Id. ¶ 11. Generally, the engagement focuses on trends, tactics, and

techniques in foreign information manipulation. GEC’s practice when sharing information with social

media companies is not to request that the companies take any specific actions on the information. Id.

The individual who led this effort from 2019 to 2022 worked from Silicon Valley. Id.

        B. GEC carried out various initiatives through a grant to Park Advisors.

        Congress specifically vested GEC with the authority to provide grants or contracts of financial

support to “civil society groups, media content providers, nongovernmental organizations, federally

funded research and development centers, private companies, or academic institutions.” 22 U.S.C.

§ 2656 note (Global Engagement Center). Such grants can be made, inter alia, “to support efforts by

[GEC] to counter efforts by foreign entities to use disinformation and propaganda to undermine or

influence the policies, security, and social and political stability of the United States and United States

allies and partner nations.” Id. § f(1)(D).

        Thus, to further its mandate of recognizing and countering foreign state and non-state

propaganda and disinformation, GEC awarded an approximately three million dollar grant to Park

Capital Investment Group LLC (Park Advisors) in September 2018 “to test and engineer novel

technological solutions—through combination, hybridization, or other applications of existing

technologies—to the problems of foreign propaganda and disinformation, and rapidly make those

technologies available for use by partners.”2 Kimmage Decl. ¶ 13. Park Advisors was a firm that

managed public-private projects with a particular emphasis on combating violent extremism and


2
  Contracts and grants are managed and monitored by GEC in accordance with applicable law,
including applicable federal regulations, and Department policy. Kimmage Decl. ¶ 12. In
implementing a GEC grant or contract, the recipient entity (prime recipient) may make subawards, by
grant or contract as appropriate to other entities (subrecipients). Id. The prime recipient is responsible
for monitoring the activities of the subrecipient, ensuring that such activities are carried out in a
manner consistent with the relevant prime award, and providing relevant information concerning
subrecipient compliance to GEC. Id.
                                                    7
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 16 of 58 PageID #: 907



disinformation. Decl. of Matthew Skibinski, General Manager, NewsGuard Technologies, Inc. ¶ 22

(Skibinski Decl.) (Ex. 2). GEC awarded additional funding to Park Advisors through various costs

amendments. Kimmage Decl. ¶ 13. At the conclusion of the award’s performance period, the award

totaled approximately $6.5 million. Id.

        Pursuant to its grant, Park Advisors administered the Testbed initiative and International Tech

Challenges described above. Id. ¶¶ 14, 17. It also launched the now-retired Disinfo Cloud in August

2019. Id. By the end of 2021, Disinfo Cloud listed 366 tools and technologies relevant to countering

foreign information manipulation. Id. ¶ 20. Additionally, in December 2020, Park Advisors established

a weekly newsletter, Disinfo Cloud Digest, to provide the user community with updates related to

Disinfo Cloud. Id. Park Advisors also created a Twitter account for Disinfo Cloud. Id. GEC’s use of

Disinfo Cloud ended in December 2021, and GEC no longer has access to it.3 Id. ¶¶ 11, 14.

        Park Advisors, in execution of the GEC grant, made subawards to subrecipients, including

NewsGuard and the Disinformation Index, Ltd.

            1. 2020 subgrant to NewsGuard to understand the origins, content, and spread of
               Russian and Chinese disinformation campaigns.

        In 2020, the Department of Defense’s National Security Innovation Network (NSIN) hosted

the Countering Disinformation Challenge. See Skibinski Decl. ¶ 21. The challenge sought innovative

tools to identify misinformation and disinformation online in near real time, in response to Russia’s

and China’s efforts to promote COVID-19 disinformation. Id.

        One of the participants in that challenge was NewsGuard Technologies, Inc. (NewsGuard).

Id. NewsGuard is a for-profit organization that sells a browser extension that provides ratings and


3
  After GEC’s contract with Park Advisors ended, the Testbeds and International Tech Challenges
initiatives continued, first through a subcontract with the consultancy company Becera, and now
directly under GEC. Kimmage Decl. ¶ 21. According to its website, Becera is a consultancy that
“bridges the public and private sectors to create innovative approaches that solve operational,
governance, and administrative challenges through technology discovery and application.” See Becera,
https://perma.cc/5V8K-MKVJ.
                                                  8
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 17 of 58 PageID #: 908



reviews of the reliability of different news sources next to links users encounter on social media sites

or search engines. Id. ¶ 4. It was launched in 2018 with the aim of providing news consumers with

detailed assessments of the reliability of news sources they might encounter on the Internet. Id. ¶ 3.

        As one of the winners of the Countering Disinformation Challenge, NewsGuard received a

$25,000 subaward from Park Advisors to conduct a pilot in collaboration with GEC and in support

of the Department of Defense’s Cyber National Mission Force (CNMF) as part of the Testbed

initiative. See id. ¶ 21; Kimmage Decl. ¶ 15. NewsGuard’s work with GEC and CNMF was coordinated

by Park Advisors, see Skibinski Decl. ¶ 22, and the funding allowed NewsGuard to help GEC and

United States Cyber Command (USCYBERCOM), the unified combatant command for the

cyberspace domain, to better understand the origins, content, and spread of Russian and Chinese

disinformation campaigns, Kimmage Decl. ¶ 15. This project lasted four months and concluded in

early 2021. Id.

        Throughout the project, Park Advisors made clear that its focus was limited to monitoring

foreign state-sponsored sources of disinformation—with no focus on domestic news sources.

Skibinski Decl. ¶ 25. On October 6, 2020, NewsGuard received an initial draft scope document for

the pilot that stated, “These tests will provide evaluation and visualization of trends in state sponsored

information and will be a collaboration between three companies: PeakMetrics, Omelas, and

NewsGuard. During the course of the tests, all three companies will take care to minimize data

collection on U.S. Persons, focusing primarily on tracking foreign adversarial actors and narratives.”

Id. ¶ 26. Then, on October 30, 2020, after discussions with Park Advisors, NewsGuard agreed to a

Statement of Work explaining the scope of the project:

        A series of reports that will help the GEC, USCYBERCOMMAND, and relevant
        partners better understand the origins, content, and spread of state-sponsored
        disinformation campaigns. . . . The focus of the reports will vary based on emerging
        events but will include insights on the following to the extent possible, tracking over
        time: 1) Which states are actively pushing certain narratives ahead of and after the 2020
        U.S. elections with an aim to undermine the U.S.? (with an initial focus on examining
                                                    9
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 18 of 58 PageID #: 909



        Chinese and Russian state media) 2) What are these key narratives being amplified? 3)
        What broader disinformation themes and content are being pushed by China and
        Russia?

Id. ¶ 27. Even after the Statement of Work was signed, Park Advisors clarified that NewsGuard would

be focused on monitoring Chinese state-sponsored media outlets and Russian outlets. See id. ¶¶ 28–

30.

        During the project, NewsGuard had approximately weekly calls with GEC, CNMF, and the

other companies. Id. ¶ 31. The companies would send reports on their findings from monitoring

Russian and Chinese state media ahead of the call. Id. The participants on these calls did not discuss

domestic media sources in the context of mis- or disinformation, nor did any of NewsGuard’s reports

mention anything about the credibility or possible publication of misinformation by domestic media

sources. Id. ¶ 32.

        GEC does not have any ongoing grants, contracts, or subawards with NewsGuard and is not

otherwise doing any work with it. Kimmage Decl. ¶ 19. 4

            2. 2021 subgrant to Global Disinformation Index, Ltd. to add foreign language
               capabilities to its existing technology.

        In 2021, Park Advisors, through its grant from GEC, hosted the “U.S.-Paris Tech Challenge.”



4
 Although not mentioned by Plaintiffs, NewsGuard received a second subaward after applying for a
“call for submissions” from GEC’s TET in December 2021 for projects focused exclusively on
applying technology to countering foreign disinformation. Skibinski Decl. ¶ 33. NewsGuard’s initial
proposal was determined unlikely to yield results, and it did not complete the work to which it initially
agreed. Id. But through that process, NewsGuard was connected to the State Department’s Venezuela
Affairs Unit, which was interested in whether NewsGuard’s data could help trace Russian state-
sponsored false narratives spreading in Latin America through Venezuelan media outlets. Id.
Ultimately, NewsGuard monitored Venezuelan domains that regularly spread Kremlin-sponsored
disinformation and 25 additional news and information websites with high readership throughout
Latin America—including Spanish publications owned and operated by authoritarian governments
such as Russia and Iran and websites operating from other Latin American countries. Id. The project
did not involve any rating or monitoring of U.S.-based news outlets and was used for countering
disinformation and propaganda overseas. Id. This work, and the $25,000 subaward in 2020 described
above, represent the only work done by NewsGuard in connection with the Park Advisors
grant. Kimmage Decl. ¶ 16.
                                                   10
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 19 of 58 PageID #: 910



Kimmage Decl. ¶ 17. This event, which took place in Paris, aimed to advance the development of

promising and innovative technologies against foreign information manipulation. Id. To that end, Park

Advisors awarded subgrants to companies addressing foreign-sourced disinformation circulating

overseas; no subgrant was given to address disinformation in the United States. Id.

         Park Advisors awarded one subgrant to the Disinformation Index, Ltd. (GDI). GDI is a

United Kingdom-based non-profit company that provides independent, neutral disinformation risk

data to digital advertisers around the world, enabling them to make more informed brand safety

decisions regarding their open-web programmatic advertising purchases. Decl. of Dr. Daniel Rogers,

Co-founder and Director, Disinformation Index, Ltd. ¶ 2 (“Rogers Decl.”) (Ex. 3). GDI Ltd. is based

in the United Kingdom. Its affiliate, Disinformation Index, Inc., (GDI Inc.) is based in the United

States. Id. ¶ 6.

         Park Advisors granted the London-based GDI Ltd. $100,000 to expand its disinformation risk

measurement to a broader set of countries in East Asia and Europe—i.e., countries within China’s and

Russia’s spheres of influence—to enable advertisers in those markets to make informed brand safety

decisions about where they were buying advertisements. Id. ¶ 4; Kimmage Decl. ¶ 18. GDI used the

$100,000 subgrant to add language capabilities (Chinese, Japanese, Korean, Vietnamese, Russian, and

Ukrainian) to its existing technology and to train GDI’s artificial intelligence technology on culturally

relevant adversarial narratives for use in risk measurement for locations outside of the United States.

Rogers Decl. ¶ 5. GDI also used its subaward to train its program with specific disinformation content

identified in those languages to help improve the model’s performance in translating that type of

content at scale. Id. GDI did not use any part of its funding to evaluate media entities in the United

States. Id. ¶¶ 6–7.

         This subgrant funded GDI’s activities for just three months, and its activities concluded on

December 31, 2021. Kimmage Decl. ¶ 18. It was the only grant that Park Advisors gave GDI under


                                                   11
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 20 of 58 PageID #: 911



the GEC grant. Id. GDI was never a part of the engagement initiative in Silicon Valley as part of this

subgrant. Rogers Decl. ¶ 11. And beyond this subgrant, a single mention in the Disinfo Cloud Digest,

and a single retweet on the Disinfo Cloud Twitter account, GDI had no further connection to Disinfo

Cloud. Id. ¶ 10. GEC does not have any ongoing grants, contracts, or subawards with GDI and is not

otherwise doing any work with it. Kimmage Decl. ¶ 19.

        C. NewsGuard’s and GDI’s other business.

        Outside their work with GEC, NewsGuard and GDI each conduct other business.

            1. NewsGuard’s “Nutrition Labels” and “Misinformation Fingerprints” Products

        NewsGuard has developed several products to provide news consumers with detailed

assessments of the reliability of news sources and to alert consumers to misinformation. Skibinski

Decl. ¶¶ 5–20. These products act as alternatives to blocking or censoring content that may contain

misinformation. Id. ¶ 41.

        First, NewsGuard created “Nutrition Labels” which were first published in August 2018. Id.

¶ 14. Nutrition Labels use nine apolitical criteria to rate the reliability of news sources, giving sites a

ranking on a scale of 0-100. Id. ¶¶ 5–6. Sites with scores over 60 are viewed as credible. Id. ¶ 10. These

results are then shared with the publisher and made available to NewsGuard clients and through

NewsGuard’s browser extension to NewsGuard users. Id. ¶ 9. Some companies license this product

to decide where to buy advertisement space. Id. ¶ 12. Different brands and advertisers have different

brand-safety standards and have therefore reported using NewsGuard’s ratings data in different ways,

though many advertisers use a score of 60 as a threshold of when to advertise with a news site. Id.

        The Daily Wire and The Federalist both have Nutrition Labels. Id. ¶ 14. Since 2021, The Daily

Wire’s score has been increasing. Id. ¶ 38. In 2023, the site achieved a score of 69.5. Id. This means

NewsGuard rates The Daily Wire as a “credible” news source. Id. The Federalist’s NewsGuard rating

has stood at 12.5 points since 2018. Id. ¶ 39. Nobody from GEC, CNMF, or any other government


                                                    12
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 21 of 58 PageID #: 912



agency was in any way involved in or funded these determinations. Id.

        NewsGuard also launched a product called “Misinformation Fingerprints” in 2020. Id. ¶ 16.

Misinformation Fingerprints is a catalog of significant false claims circulating online, with a focus on

state-sponsored false narratives from Russia, China, and Iran. Id. NewsGuard provides a report of

how it finds claims to be false and the evidence it considered, enabling users to make their own

determinations as to the claim’s veracity. Id. The Misinformation Fingerprints product does not rate

the credibility of news publishers, nor does it direct the placement of advertisements. Id. Instead,

NewsGuard licenses Misinformation Fingerprints to industries such as cyberdefense firms, reputation

management firms, the defense and intelligence communities, and some social media platforms (to

allow users to verify the veracity of content before publishing their own posts). Id. ¶ 18. Like Nutrition

Labels, the Misinformation Fingerprints product was created independently by NewsGuard; neither

GEC nor the CNMF nor any other government agency was involved in its development. Id. ¶ 17.

        NewsGuard’s revenue comes from Internet Service Providers, browsers, search engines, social

media platforms, education providers, advertising agencies, brand safety providers, researchers, and

others paying to use NewsGuard’s products. Id. ¶ 4. NewsGuard did not use its grant funding from

GEC, or any other government funding, to rate news sources or debunk any specific narratives. Id. ¶

37.

            2. GDI’s Dynamic Exclusion List

        GDI provided disinformation risk data to digital advertisers around the world through several

projects. See Rogers Decl. ¶ 2. For example, GDI’s United States affiliate, Disinformation Index, Inc.,

runs a “Dynamic Exclusion List.” Id. ¶ 7. The Dynamic Exclusion List is a non-public source that

identifies publications with a risk of spreading disinformation. Id. ¶ 8. It is updated monthly. Id. GDI

Inc. does not have the ability to “blacklist” organizations through the list. Id. ¶ 6. Rather, it provides

data to advertising buyers, who make their purchasing decisions. Id. The Dynamic Exclusion List is


                                                   13
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 22 of 58 PageID #: 913



not funded by the State Department or GEC, nor were any of the funds from the U.S.-Paris Tech

Challenge (which were awarded to the London-based GDI Ltd.) put towards the Dynamic Exclusion

List. Id. ¶ 7.

         In November 2022, GDI also published a Disinformation Risk Assessment Report for the

United States. Id. ¶ 8. In that report, GDI included a list of the ten least risky and the ten most risky

of sixty-nine news sites manually reviewed for the purposes of that report. Id. Media Plaintiffs were

identified among the ten most risky. Id. The report is completely independent of the Dynamic

Exclusion List. Id. There is no correlation between risk as identified in the report and any site’s

inclusion in or exclusion from the Dynamic Exclusion List. Id. GDI funded its 2022 Assessment

Report with private funds. Id. ¶. And GDI covers all of its infrastructure costs through private sources

of funding. Id. ¶ 7.

II.      This Litigation

         Plaintiffs are two media organizations, The Daily Wire and The Federalist, and the State of

Texas. Compl. ¶¶ 13, 39, 41. They filed their complaint on December 6, 2023 against the State

Department; GEC; and a number of State Department officials in their official capacities (collectively,

Defendants). Id. ¶¶ 15–22. Plaintiffs allege that Defendants encouraged the development of

“Countering Propaganda and Disinformation” (CPD) technologies by private third parties, which

advertisers and social media companies in turn purportedly used to restrict the Media Plaintiffs’

speech. See id. ¶¶ 3, 65. Texas argues separately that Defendants’ alleged actions interfere with its

enforcement of a (presently enjoined) state law that regulates social media companies’ content-

moderation decisions. See id. ¶¶ 234–35.

         Two months after filing their complaint, and upon receiving notice of Defendants’ intent to

file a motion to transfer venue, see Defs.’ Mot. to Stay Deadlines to Respond to the Compl. & Pls.’




                                                   14
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 23 of 58 PageID #: 914



Forthcoming Mots. for Prelim. Inj. & Expedited Disc., ECF No. 8,5 Plaintiffs filed a Motion for

Preliminary Injunction (Plaintiffs’ Motion) on February 6, 2024. See Mot. for Prelim. Inj., ECF No. 11

(PI Mot.). The next day, Plaintiffs filed their Motion to Expedite Discovery. See Mot. for Expedited

Prelim.-Inj.-Related Disc., ECF No. 13. That motion is now fully briefed. See Defs.’ Opp’n to Mot.

for Expedited Prelim.-Inj.-Related Disc., ECF No. 20; Pls.’ Reply in Supp. of Mot. for Expedited

Prelim.-Inj.-Related Disc., ECF No. 23. On February 9, 2024, Defendants filed a motion to transfer

venue. See Defs.’ Mot. to Transfer Venue, ECF No. 14. Plaintiffs filed their response on March 14,

2024. See Pls.’ Resp. to Defs’ Mot. to Transfer Venue, ECF No. 25.

                                         LEGAL STANDARD

        “A preliminary injunction is an extraordinary and drastic remedy” that is “never awarded as of

right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008).6 A plaintiff may obtain this “extraordinary remedy”

only “upon a clear showing” that it is “entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 22 (2008). A plaintiff must show (1) “a substantial threat of irreparable injury,” (2) “a substantial

likelihood of success on the merits,” (3) “that the threatened injury if the injunction is denied

outweighs any harm that will result if the injunction is granted,” and (4) “that the grant of an injunction

will not disserve the public interest.” Jordan v. Fisher, 823 F.3d 805, 809 (5th Cir. 2016). The plaintiff

must “clearly carr[y] the burden of persuasion on all four requirements.” Id. A plaintiff’s burden is

even higher where, as here, it seeks a preliminary injunction that would alter the status quo. See, e.g.,

Martinez v. Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976) (such injunctions are “particularly

disfavored”).



5
  The Court granted in part and denied in part Defendants’ motion to stay their deadlines. See Order
Granting-in-Part & Denying-in-Part Mot. to Stay at 1, ECF No. 15. It denied the motion with respect
to staying Defendants’ deadlines in response to Plaintiffs’ motion for a preliminary injunction and
motion for expedited preliminary-injunction discovery. Id. But it granted a forty-five-day extension of
Defendants’ deadline to respond to Plaintiffs’ complaint. Id.
6
  Internal quotations marks and citations are omitted throughout this brief, unless noted.
                                                     15
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 24 of 58 PageID #: 915



                                              ARGUMENT

        Plaintiffs’ Motion should be denied because it does not meet any of the requirements for a

preliminary injunction. (I) Plaintiffs fail to make the “clear showing” of standing required for

preliminary relief because they have not clearly shown a cognizable injury traceable to any of

Defendants’ conduct, and in fact the record confirms the opposite. (II) Plaintiffs have failed to

demonstrate irreparable harm because any injuries they may have suffered occurred in the past, their

conclusory allegations of ongoing harm are contradicted by the record, and they have delayed in

seeking emergency relief. (III) Plaintiffs are unlikely to succeed on their claims. (A) They are unlikely

to succeed on their First Amendment claims because GEC funded projects solely addressing foreign

disinformation that had no effect on the audience for or revenues from Media Plaintiffs’ speech

whatsoever, and Plaintiffs cannot identify any connection between the government’s conduct and the

third-party actions that purportedly harmed them sufficient to meet the First Amendment’s state

action requirement. (B) They are unlikely to succeed on their APA and ultra vires claims because they

do not identify any final agency action, and the record conclusively shows that GEC’s conduct fell

well within its statutory mandate. (IV) The balance of equities and public interest weigh heavily in the

government’s favor, because Plaintiffs’ speculative First Amendment harms are far outweighed by the

risks to GEC’s critical national security and foreign affairs mission that would accrue under the

proposed injunction. (V) Finally, the injunction is improper under Rule 65 because it is imprecise and

overbroad.

I.      Plaintiffs fail to make the “clear showing” of standing required for a preliminary
        injunction.

        Article III limits the judicial power to deciding “Cases” and “Controversies,” U.S. Const. art.

III, § 2, which ensures that federal courts do not become “forums for the ventilation of public

grievances,” Valley Forge Christian Coll. v. Ams. United for Separation of Church & State, Inc., 454 U.S. 464,

473 (1982). As part of that limitation, a plaintiff must demonstrate three elements to meet the

                                                     16
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 25 of 58 PageID #: 916



“irreducible constitutional minimum of standing,” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61

(1992): (1) “injury in fact,” (2) “that is fairly traceable to the challenged conduct of the defendant,”

and (3) “likely to be redressed by a favorable judicial decision,” Spokeo, Inc. v. Robins, 578 U.S. 330, 338

(2016).

          “[S]tanding is not dispensed in gross; rather, plaintiffs must demonstrate standing for each

claim that they press” and “for each form of relief that they seek.” TransUnion LLC v. Ramirez, 594

U.S. 413, 432 (2021). And where, as here, “the plaintiff is not [it]self the object of the government

action or inaction [it] challenges,” the Supreme Court has recognized that “standing is . . . substantially

more difficult to establish.” Lujan, 504 U.S. at 562; accord Hotze v. Burwell, 784 F.3d 984, 995 (5th Cir.

2015). Past injury cannot support prospective relief. City of L.A. v. Lyons, 461 U.S. 95, 102 (1983);

O’Shea v. Littleton, 414 U.S. 488, 495–96 (1973). Rather, a plaintiff must face a “real and immediate

threat” of ongoing or future harm. Lyons, 461 U.S. at 102.

          Standing is “an indispensable part of the plaintiff’s case,” and therefore “each element must

be supported . . . with the manner and degree of evidence required at the successive stages of

litigation.” El Paso Cnty. v. Trump, 982 F.3d 332, 338 (5th Cir. 2020). For a preliminary injunction,

“plaintiffs must make a ‘clear showing’ that they have standing.” Barber v. Bryant, 860 F.3d 345, 352

(5th Cir. 2017) (quoting Winter, 555 U.S. at 22). Plaintiffs’ cursory, one-page discussion of standing in

their Motion does not meet the “clear showing” standard. See PI Mot. at 19–20.

          A. Texas lacks standing.

          Texas’s sole basis for standing is its theory that Defendants are “interfering with Texas’s

sovereign right to create and enforce a legal code”—that is, HB 20, a presently enjoined state law that

regulates social media companies’ content-moderation decisions. See PI Mot. at 20 (reiterating, in a

sentence, their theory of injury to Texas based on HB 20); Compl. ¶¶ 234–39. Relevant here, HB 20’s

content-moderation provisions restrict social media companies’ choices about whether and how to


                                                    17
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 26 of 58 PageID #: 917



present content to the public. See Tex. Civ. Prac. & Rem. Code Ann. § 143A. Texas alleges that, by

working with GDI and NewsGuard, which market technology to social media companies, which in

turn decide whether to use that so-called “censorship” technology, Defendants “induce social media

companies to violate HB 20.” Compl. ¶ 237. This “inducement” theory is incomplete, because it does

not explain why any of the alleged conduct here would prevent a social media company from

complying with HB 20’s content-moderation restrictions. That is, if HB 20 prohibits a social media

company from using a particular technology in a particular way, then the company can simply choose

not to use that technology as such. Texas’s theory of standing fails for that simple reason. Moreover,

if the theory depends on the premise that third-party social media companies will use technology

created by other third parties to violate state law, that “unadorned speculation” plainly does not satisfy

Article III traceability. Telephone & Data Sys., Inc. v. FCC, 19 F.3d 42, 48 (D.C. Cir. 1994) (rejecting a

theory of standing that “invite[d] [the court] ‘to presume illegal activities’ on the part of actors not

before the court”); Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n.5 (2013) (“Plaintiffs cannot rely

on speculation about the unfettered choices made by independent actors not before the court” to

establish causation).

        This circuitous theory also lacks merit for the numerous reasons explained in the government’s

Motion to Transfer Venue (ECF No. 14) at 5–9. Texas has not suffered any injury-in-fact because HB

20 has never gone into effect, and Texas has therefore never been able to enforce it, nor has Texas

shown that enforcement is imminent. The law was scheduled to take effect on December 2, 2021, but

on December 1, 2021, its enforcement was preliminary enjoined. NetChoice, LLC v. Paxton, 573 F.

Supp. 3d 1092 (W.D. Tex. 2021).7 Texas’s conclusory allegation that the “injury to [its] sovereign


7
  The Fifth Circuit stayed the injunction, NetChoice, LLC v. Paxton, 2022 WL 1537249 (5th Cir. May
11, 2022), but the Supreme Court vacated that stay, 142 S. Ct. 1715 (2022), leaving the district court’s
injunction in place. The Fifth Circuit subsequently decided to vacate the injunction, NetChoice, LLC v.
Paxton, 49 F.4th 439 (5th Cir. 2022), but stayed its mandate (thus again leaving the injunction in place),
and the Supreme Court granted certiorari, 144 S. Ct. 477 (2023).
                                                   18
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 27 of 58 PageID #: 918



interest is continuing and ongoing,” Compl. ¶ 238, without more does not meet the “clear showing”

required for preliminary relief. See Lujan, 504 U.S. at 561 (a plaintiff may not rest on “general

allegations” at the preliminary injunction stage); Ctr. for Biological Diversity v. U.S. EPA, 937 F.3d 533,

545 (5th Cir. 2019) (“Article III demands more than . . . conclusory assertions.”). Nor are Texas’s

injuries redressable, because no order from this Court could overturn the Western District of Texas’s

current injunction preventing HB 20 from going into effect. Finally, the record demonstrates that

GEC has made no efforts to block either public or private enforcement of HB 20, or otherwise

interfere with compliance with the law, defeating Plaintiffs’ unsupported assertions otherwise.

Kimmage Decl. ¶ 22.

        Plaintiffs offer several responses in their Reply in Support of Motion for Expedited Discovery

at 2–3, ECF No. 23, but none is persuasive. First, Plaintiffs note that the Fifth Circuit upheld HB 20’s

constitutionality and complain that it is Defendants that ask this Court to “inappropriately speculate”

as to whether the Supreme Court will reverse that decision. But the Fifth Circuit stayed the mandate

in that case; its judgment has no current legal effect and is therefore immaterial as to whether Plaintiffs

are injured, whether that injury is traceable to Defendants, or whether that injury is redressable by this

Court. It is beyond dispute that Texas has never enforced and cannot currently enforce HB 20. And

it is Plaintiffs, not Defendants, who ask this Court to speculate because Plaintiffs’ argument rests on

the assumption that it could be injured in the future if the Supreme Court ultimately permits HB 20

to go into effect (or that social media companies would choose to violate state law). In any event,

Plaintiffs’ accusation is a non sequitur that ignores the basic principle that Plaintiffs must clearly establish

standing; it is not Defendants’ burden to disprove the opposite.

        Second, Plaintiffs make the unadorned assertion that HB 20’s private enforcement provisions

have never been enjoined. Id. Assuming this is true, Plaintiffs do not explain how Defendants are

interfering with private parties’ ability to sue social media companies for violations of HB 20 (or have


                                                      19
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 28 of 58 PageID #: 919



ever done so in the past). In any event, Plaintiffs also do not have any evidence that any private parties

have ever attempted to enforce HB 20 or been dissuaded as a result of Defendants’ actions from doing

so. If this argument depends on the same assumptions that underlie the “inducement” theory

described above, this Court should summarily reject it for the reasons already explained. Finally,

Plaintiffs contend that Texas’s sovereign interests encompass “compliance with its laws,” not merely

enforcement. But the caselaw that Texas cites does not support such a compliance-enforcement

distinction.8 Even if it did, Texas has not shown or alleged (other than through the flawed and

incomplete inducement theory) that Defendants are interfering with private parties’ “compliance”

with HB 20.9

        B. Media Plaintiffs lack standing.

        Likewise, Media Plaintiffs fall far short of adducing evidence that would support Article III

standing, and in any event, the record firmly contradicts their allegations. Media Plaintiffs assert two

purported injuries allegedly attributable to Defendants: (i) the loss of advertiser and subscriber revenue

and readership, and (ii) a First Amendment harm from self-censorship. PI Mot. at 19–20; Compl. ¶¶

4–5. Neither injury is ongoing so as to support prospective injunctive relief, traceable to Defendants’

conduct, or redressable by the proposed preliminary injunction.

        Injury-in-fact. As an initial matter, Media Plaintiffs’ claimed injuries occurred in the past, and

“[p]ast exposure to illegal conduct does not in itself show a present case or controversy regarding


8
  Texas’s citation to Texas v. EEOC, 933 F.3d 433 (5th Cir. 2019), see ECF No. 23 at 3, does not
support any such distinction because the state law at issue there was plainly in effect and not enjoined.
Moreover, the federal guidance challenged there threatened civil liability for private parties if they did
not take action in direct violation of state law—a far cry from the speculative causal chain underlying
Texas’s inducement theory in this case.
9
  In their most recent filing, Plaintiffs offer a third theory. They assert, without any explanation or
evidence, that the State Department “interferes” with HB 20’s “transparency” provisions, which
require social media companies to publicly report instances in which they remove or deprioritize
content. Pls.’ Resp. to Defs.’ Mot. to Transfer Venue at 5, ECF No. 25. It is entirely unclear how any
of the alleged (let alone proven) conduct in this case would prevent any social media company from
complying with that provision of HB 20.
                                                   20
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 29 of 58 PageID #: 920



injunctive relief.” O’Shea, 414 U.S. at 495–96; see Lyons, 461 U.S. at 102. Rather, a plaintiff must

establish a “real and immediate threat of repeated injury.” O’Shea, 414 U.S. at 496. The key activities

that Plaintiffs complain of ended years ago, and Plaintiffs do not offer evidence showing any current

activity that causes them ongoing or imminent harm. In fact, many of Plaintiffs’ allegations indicate

that any harm to them was exclusively in the past. See Compl. ¶¶ 142–44 (one-time grants to GDI and

NewsGuard from several years ago); id. ¶¶ 160–61, 167 (alleging Disinfo Cloud’s website is no longer

publicly accessible); id. ¶ 165 (Park Advisors, which operated Disinfo Cloud, has closed). To be sure,

they offer a laundry list of vague and generalized grievances to support assertions of ongoing harm.

For example, they allege that two years-old Twitter posts from the Disinfo Cloud account remain

online, id. ¶ 161; that Defendants “continue to use” the “research and reports” on Disinfo Cloud, id.

¶ 162, without further explanation of how that “research” injures them; that Defendants moved

“information” from Disinfo Cloud’s website to an unnamed new “platform,” id. ¶ 165; that

Defendants “continue” to fund “censorship enterprises” (a legal conclusion), id. ¶ 170; and that

Defendants are performing unspecified work with a new consulting company, Becera, again without

explaining what that work is or how it harms them, id. ¶¶ 176–78. Thus, Plaintiffs have not even

articulated a coherent theory of concrete, actual, and ongoing or imminent harm as Article III requires

for prospective relief.

        The record confirms that Plaintiffs suffer no ongoing injury from Defendants’ conduct.10 GEC

does not have any ongoing grants, contracts, or subawards with GDI or NewsGuard and is not

otherwise doing any work with those entities. Kimmage Decl. ¶ 19. GEC’s use of Disinfo Cloud ended

in December 2021, the related Digest was retired at the same time, and the Twitter account has


10
  Plaintiffs heavily rely on hearsay within news articles as evidence for their allegations. E.g., PI Mot.
Exs. F, H–J, U, HH. The Court should give those articles minimal weight in light of Defendants’
sworn declarations that contradict the unsupported assertions in those articles. Cf. Mood v. Cnty. of
Orange, 2019 WL 13036027, at *2–5, 7–8 (C.D. Cal. July 25, 2019) (news article containing hearsay less
reliable than sworn testimony).
                                                   21
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 30 of 58 PageID #: 921



remained inactive since then. Id. ¶¶ 11, 20.11 As a result of shifting priorities and evolving

disinformation threats, GEC has ended many of the initiatives that Plaintiffs speculate are harming

them here, such as the Tech Demo Series or the presence of a GEC employee in Silicon Valley. Id.

¶ 21.

        Undeterred, Plaintiffs have in recent submissions continued to press their conclusory and

unsupported claims that “Defendants’ still-ongoing censorship scheme . . . suppresses disfavored

domestic speech” by funding the development of unspecified “censorship technology and private

censorship enterprises.” ECF No. 23 at 1. Plaintiffs further speculate, without citation or evidence,

that the “Silicon Valley office remains in operation” (without explaining why that injures them) and

that Defendants “use a different platform and contractors” to carry out so-called “blacklisting.” Id. at

2. These unsupported assertions are contradicted by the evidence cited above and do not support

preliminary relief.

        Finally, Plaintiffs’ assertions of self-censorship do not support a finding of injury-in-fact. If

they have not otherwise clearly shown an ongoing or imminently threatened injury, Plaintiffs “cannot

manufacture standing merely by inflicting harm on themselves based on their fears of hypothetical

future harm that is not certainly impending.” Clapper, 568 U.S. at 416. “[A]llegations of a subjective

‘chill’ are not an adequate substitute for a claim of specific present objective harm or a threat of specific

future harm.” Id. at 418.12 That principle squarely forecloses Plaintiffs’ self-censorship theory of harm,

which depends on speculation about future actions by Defendants, future unnamed grantees,

advertisers, and social media companies.



11
   The Tweets that Plaintiffs reference are years old and do not even mention Media Plaintiffs; they
are patently insufficient to provide the basis for any ongoing injury to them.
12
   Plaintiffs’ declarations assert, with no explanation, that “[t]he State Department’s promotion of
technology that blacklists [The Daily Wire/The Federalist] has a chilling effect on the organization.”
See PI Mot. Exs. MM ¶ 5, NN ¶ 5. This sort of conclusory statement is patently insufficient to serve
as evidence of self-censorship.
                                                     22
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 31 of 58 PageID #: 922



        Traceability. Article III also requires “a causal connection between the injury and the conduct

complained of.” Lujan, 504 U.S. at 560. “Causation” is not established if Plaintiffs’ claimed “injuries”

are “the result of the independent action[s] of . . . third party” companies that are “not before the

court.” Inclusive Cmtys. Project, Inc. v. Dep’t of Treasury, 946 F.3d 649, 655 (5th Cir. 2019). Plaintiffs’ various

theories of traceability ignore this fundamental principle several times over.

        (1) Consider the grant to GDI. Plaintiffs maintain: (a) GEC, through its grantee Park Advisors,

gave a one-time $100,000 grant to GDI in a 2021 international technology challenge; (b) GDI used

that money to develop the Dynamic Exclusion List; (c) Media Plaintiffs are on that List; and

(d) corporations who subscribe to that List may choose not to advertise based on Media Plaintiffs’

(unconfirmed) presence on that List as a result. PI Mot. at 7–9, 13. Even if Plaintiffs had evidence

clearly supporting each of these allegations (they do not), this theory of standing fails as a matter of

law because it depends on exactly the kind of “speculation about the decisions of independent actors”

that the Supreme Court has repeatedly rejected. Clapper, 568 U.S. at 413–14; Simon v. E. Ky. Welfare

Rights Org., 426 U.S. 26, 41–42 (1976) (standing cannot be premised upon “injury that results from the

independent action of some third party not before the court”).

        In any event, the record contradicts Plaintiffs’ version of events. Foremost, no part of the

challenged 2021 grant was used in any way for activities aimed at U.S. media outlets or even in the

United States at all. Rogers Decl. ¶¶ 4, 6–7; Kimmage Decl. ¶ 18. “GDI” is in fact two distinct legal

entities: London-based GDI Ltd., and U.S.-based GDI Inc. Rogers Decl. ¶¶ 2, 6. As part of the U.S.-

Paris Tech Challenge, an overseas competition aimed at advancing technologies to combat foreign

disinformation and propaganda, London-based GDI Ltd. applied for funding to expand its already-

existing disinformation risk measurement technology to six foreign languages—Chinese, Japanese,

Korean, Vietnamese, Russian, and Ukrainian. Id. ¶¶ 4–5. Based on that pitch, GDI Ltd. won the

$100,000 award and used the money accordingly, that is, to advance its technology to recognize those


                                                        23
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 32 of 58 PageID #: 923



languages and in turn train its artificial intelligence technology on local and culturally relevant

adversarial narratives in East Asia and Europe. Id. ¶ 5. The project was successful and, as a result, GDI

Ltd.’s technology is now more effective at identifying dangerous disinformation narratives originating

in those foreign languages, for the benefit of U.S. interests and public and private entities based

overseas. Id. Again, that grant was simply not used in any way for the purpose of expanding

disinformation risk measurement in the United States. Id. The Dynamic Exclusion List—the

purported source of Media Plaintiffs’ injuries—was created by and is wholly maintained by the U.S.-

based entity, which was not the recipient of the Paris Tech Challenge funds. Id. ¶ 7. The List was not

funded by the State Department or any State-Department affiliated entity, and GDI’s infrastructure

costs are borne out of private sources of funding. Id.

        The rest of Media Plaintiffs’ purported causal chain similarly either depends primarily on the

unrelated actions of third parties (and therefore the allegations fail as a matter of law) or is contradicted

by the record. Plaintiffs heavily emphasize their inclusion in a one-time report that U.S.-based GDI

Inc. published in 2022, titled “Disinformation Risk Assessment,” about the domestic online news

market. Based on their inclusion in that report, they speculate that GDI Inc. included them on the

non-public Dynamic Exclusion List, PI Mot. at 8, Compl. ¶¶ 115–16, but Article III demands more

than guesswork. Indeed, Plaintiffs have failed to identify a single advertiser or social media company

that has ever made a single decision harming them on the basis of this report. For this reason alone,

Plaintiffs have failed to clearly show any cognizable injury traceable to Defendants, much less an

imminent one.

        The record also shows that there is no relationship between the report and the Dynamic

Exclusion List. Rogers Decl. ¶ 8. Even if the report from U.S.-based GDI Inc. were relevant,

Defendants had nothing to do with that report, which was supported entirely by private funding. Id.

And on top of that, Plaintiffs’ theory of resulting economic harm and self-censorship depends on the


                                                     24
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 33 of 58 PageID #: 924



further actions of advertisers and social media companies, some of world’s largest corporations whose

decisions are governed by market forces and economic incentives wholly unrelated to a grant that

GEC made to a UK-based company in 2021, which was in turn unrelated in any way to the 2022 GDI

Inc. report.

        (2) Media Plaintiffs’ theory regarding NewsGuard suffers from the same defects. They

maintain that: (a) NewsGuard won a $25,000 award during a technology challenge organized by the

NSIN and GEC; (b) as part of that award, NewsGuard piloted one of its technologies on a GEC

testbed; (c) NewsGuard maintains a database of ratings of domestic news outlets, in which Media

Plaintiffs score poorly; and (d) advertisers withhold revenue from them and social media companies

deprioritize them as a result. Even accepting this narrative on its own terms, Plaintiffs fail to explain

how, in their view, the 2020 NSIN award for a challenge focused on foreign disinformation narratives

relates to NewsGuard’s domestic news ratings database. And even if that connection were clearly

explained, this overall theory once again depends entirely on the actions of third parties—advertisers

and social media companies—that make independent decisions, not at the behest of NewsGuard and

certainly not as a direct result of anything Defendants have done.

        At any rate, the record again contradicts Media Plaintiffs’ narrative, primarily because there is

no connection between NewsGuard’s Nutrition Labels media-rating product and any funding that

NewsGuard has ever received from Defendants (or any other federal agency). Skibinski Decl. ¶ 22–

24. The facts are this: NewsGuard received a $25,000 subaward from Park Advisors under its GEC

grant in 2020 in connection with the NSIN-organized foreign disinformation challenge. Id. ¶ 21.13


13
  NewsGuard also worked on a project with the State Department’s Venezuela Affairs Unit to trace
Russian state-sponsored false narratives spreading in Latin America through Venezuelan media
outlets. Skibinski Decl. ¶ 33. The project did not involve any rating or monitoring of U.S.-based news
outlets and was used for countering disinformation and propaganda overseas. Id. This work, and the
$25,000 subaward in 2020 described above, represent the only work done by NewsGuard in
connection with the Park Advisors grant. Kimmage Decl. ¶ 16. Plaintiffs do not make any allegations
regarding this project.
                                                   25
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 34 of 58 PageID #: 925



NewsGuard’s project pursuant to the NSIN challenge focused exclusively on identifying rapidly-

evolving, false narratives being spread by foreign state and state-sponsored actors, with a particular

emphasis on China and Russia, and did not involve monitoring of domestic news sources. Id. ¶¶ 21–

32; Kimmage Decl. ¶ 15. And the testing of NewsGuard technology as part of that award was

exclusively designed for those national security and foreign affairs purposes. Skibinski Decl. ¶ 25. Put

simply, NewsGuard did not use any resources from Defendants to create, improve, or implement

NewsGuard’s Nutrition Labels ratings database. Id. ¶ 24. Finally, NewsGuard first published its ratings

database in August 2018, years before any of the events alleged in this lawsuit. Id. ¶ 14.14 These facts

highlight that Plaintiffs’ theory of harm attributable to Defendants’ interactions with NewsGuard lacks

any evidentiary support.

        (3) Plaintiffs’ remaining attempts to establish some connection between Defendants and their

purported injuries are even more attenuated, vague, and speculative than those described above.

Plaintiffs allege that Defendants “promoted” GDI, NewsGuard, and other unspecified technologies

through other means such as the Disinfo Cloud platform and its related Twitter account and News

Digest, PI Mot. at 6–7, 12; GEC’s engagement with companies based in Silicon Valley, id. at 15; and

State Department website links to various third-party resources and webpages, some of which in turn

include GDI and NewsGuard among long lists of other resources, id. at 15–16.

        The evidence contradicts these assertions. As for Disinfo Cloud, GDI’s technology was never

included on that platform. Rogers Decl. ¶ 9. The fact that the Disinfo Cloud Twitter account and

Digest each on one occasion referenced GDI’s work in the foreign disinformation space does not



14
  During the period of the grant projects, Daily Wire’s NewsGuard score actually increased by 7.5
rating points, and from August 2021 to November 2023, the site achieved a score of 69.5. NewsGuard
describes outlets achieving a score above 60 as “credible,” and 60 is the threshold that many advertisers
use in deciding whether to advertise on a given news site, although, again, those decisions are made
entirely by advertisers and not by NewsGuard. Skibinski Decl. ¶ 38. These facts further undermine
any claimed injury to the Daily Wire traceable to Defendants’ conduct.
                                                   26
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 35 of 58 PageID #: 926



remotely connect Defendants to Plaintiffs’ purported injuries from domestic advertisers or social

media companies. The theory that Defendants “promoted” NewsGuard’s domestic news ratings

database through either the Disinfo Cloud platform, Twitter account, or Digest lacks merit for all the

same reasons. As for GEC’s interactions with domestic technology companies, Plaintiffs utterly fail

to explain how Defendants “targeted” American speech by engaging in dialogue with some of the

world’s most significant internet companies to share information on combating foreign disinformation

and propaganda overseas. Finally, the notion that Defendants have caused Plaintiffs injury by posting

links on a State Department website to compilations of disinformation technologies created by private

entities, some of which include links to GDI’s and NewsGuard’s websites, is based on an attenuated

causal chain that cannot support Article III standing.15

        Finally, Plaintiffs assert in their Motion that Media Plaintiffs “face blacklisting,

demonetization, reduced circulation of publications and subscriber and advertiser loss” caused by two

“GEC supported” technologies, i.e., GDI Inc.’s Dynamic Exclusion List and NewsGuard’s Nutrition

Labels product (as explained, these were not, in fact, “GEC supported”). PI Mot. at 19. These

conclusory, factually unsupported statements fall short of the “clear” showing of concrete injury

required for standing and for preliminary relief. See Soc’y of Separationists, Inc. v. Herman, 959 F.2d 1283,

1287 (5th Cir. 1992) (en banc) (“Especially where governmental action is involved, courts should not

intervene unless the need for equitable relief is clear, not remote or speculative.”).16


15
   Plaintiffs also argue that the State Department funded a seminar in Germany to train American
teachers and “instruct[ed] teachers to install NewsGuard.” PI Mot. at 16. These allegations do not
appear in the complaint and therefore cannot form the basis for a preliminary injunction. ZeptoLab
UK Ltd. v. Commonwealth Toy & Novelty Co., 2012 WL 4761501, at *7 (S.D.N.Y. Aug. 23, 2012). These
new allegations also fail to establish traceability because any resulting harm depends entirely on the
actions of independent third parties.
16
   In support of their request for expedited discovery, which this Court should reject for independent
reasons explained in Defendants’ opposition to Plaintiffs’ discovery motion, Plaintiffs have also
implicitly conceded that they lack any specific knowledge regarding current or future injury as a result
of Defendants’ conduct. E.g., ECF No. 13 at 1 (discovery necessary “to determine the breadth of the


                                                     27
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 36 of 58 PageID #: 927



        Redressability. For similar reasons, Plaintiffs’ purported injuries are not redressable by the

injunction they seek, or indeed by any equitable relief directed at Defendants. Plaintiffs ask this Court

to enjoin Defendants from “continuing to research, assess, fund, test, market, promote, host on its

government platform, and/or otherwise assist with the development of, or encourage the use of,

technology” that targets American speech. PI Mot. at 36. But even if Defendants were taking any

action aimed at suppressing, or even affecting, American speech (they are not), granting that injunction

would not redress the supposed source of Plaintiffs’ injuries, that is, GDI Inc.’s (purported) and

NewsGuard’s ratings of Media Plaintiffs, and in turn the decisions of advertisers and social media

companies that purportedly impact Plaintiffs’ audience sizes and revenues. Simply put, those are

“unfettered choices made by independent actors not before the court[], and whose exercise of broad

and legitimate discretion the courts cannot presume either to control or to predict.” Lujan, 504 U.S.

at 562. It is “pure speculation that any order directed at [Defendants] would affect the behavior of the

third-party technology companies” such as GDI Inc., NewsGuard, and social media platforms, or of

blue-chip advertisers, and Article III for purposes of preliminary relief demands far more.17 Ass’n of

Am. Physicians & Surgeons v. Schiff, 518 F. Supp. 3d 505, 516 (D.D.C. 2021); see Inclusive Cmtys., 946 F.3d

at 655; Utah v. Evans, 536 U.S. 452, 464 (2002).

                                                   ***

        Plaintiffs’ failure to clearly show standing is alone a sufficient basis to deny Plaintiffs’

preliminary injunction motion (and to dismiss this case altogether, as Defendants will demonstrate in



still ongoing harm to Plaintiffs”); see also PI Mot. at 25 (“breadth of the restraint on Media Plaintiffs’
speech and circulation is . . . unknown”); Compl. ¶ 3 (same). The fact that Plaintiffs do not know how
or if they are suffering or facing injury strongly supports the conclusion that they are not confronted
by an actual or imminent injury at all. Cf. Clapper, 568 U.S. at 409 (injury must be “certainly impending”).
17
   In Plaintiffs’ own words, “once [GDI’s and NewsGuard’s] technologies are adopted by third parties,
. . . fashioning injunctive relief to limit the continuing harm will become increasingly challenging.” PI
Mot. at 34. This concedes that Plaintiffs’ entire theory of harm turns on the actions of third parties
and that relief from this Court cannot affect, let alone prohibit, those third parties’ future choices.
                                                    28
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 37 of 58 PageID #: 928



their forthcoming motion to dismiss). However, Plaintiffs also cannot satisfy the remaining

requirements for preliminary injunctive relief for the reasons explained below.

II.     Plaintiffs fail to demonstrate irreparable harm.

        To establish irreparable harm, a plaintiff must demonstrate “a significant threat of injury from

the impending action, that the injury is imminent, and that money damages would not fully repair the

harm.” Humana, Inc. v. Jacobson, 804 F.2d 1390, 1394 (5th Cir. 1987). At the preliminary injunction

stage, Plaintiffs must adduce evidence clearly showing that the irreparable injury is likely to occur

“during the pendency of the litigation.” Justin Indus., Inc. v. Choctaw Secs., L.P., 920 F.2d 262, 268 n.7

(5th Cir. 1990); see 11A Charles A. Wright, Arthur R. Miller & Mary K. Kane, Federal Practice and

Procedure § 2948.1 (3d ed. 2013) (“Perhaps the single most important prerequisite for the issuance of a

preliminary injunction is a demonstration that if it is not granted the applicant is likely to suffer

irreparable harm before a decision on the merits can be rendered.”).

        The perfunctory discussion of irreparable harm in Plaintiffs’ Motion does not clearly show a

significant threat of injury from any ongoing or impending action by Defendants. See PI Mot. at 34–

35. First, Plaintiffs contend that if they establish a likelihood of success on the merits of their First

Amendment claims—which they cannot do for the reasons explained below—they ipso facto satisfy the

irreparable harm prong for emergency relief. PI Mot. at 34. That is incorrect, because irreparable injury

must be “imminent”; a past injury, even a constitutional one, does not qualify. As the Fifth Circuit has

explained, “invocation of the First Amendment cannot substitute for the presence of an imminent,

non-speculative irreparable injury.” Google, Inc. v. Hood, 822 F.3d 212, 227–28 (5th Cir. 2016). Thus,

even if Plaintiffs had established a likelihood that Defendants violated their First Amendment rights

at some point in the past, that still would not relieve them of their burden to demonstrate a likelihood

of current or future constitutional injury for purposes of a preliminary injunction. Winter, 555 U.S. at

20.


                                                   29
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 38 of 58 PageID #: 929



        Second, Plaintiffs claim that “if Defendants are not promptly enjoined, their unconstitutional

conduct will continue to reduce the Media Plaintiffs’ reach, rendering it all the more difficult, if not

impossible, to undo the harm flowing from the continued funding and promotion of censorship

technologies which abridge their First Amendment rights.” PI Mot. at 34 (emphasis added). But

Plaintiffs have failed to adduce any evidence that Defendants continue to fund or promote any specific

so-called “censorship technologies,” or that such funding will imminently result in harm to them.

        Third, Plaintiffs rehash their arguments in a handful of sentences that Media Plaintiffs suffer

some unspecified irreparable injury from Defendants’ “censorship scheme” and that Texas suffers

irreparable harm to its sovereign interests from its inability to enforce an already-enjoined state law.

Id. at 35. These undeveloped arguments fail for the same reasons that Plaintiffs lack Article III

standing: Plaintiffs have not proffered any evidence establishing an ongoing or certainly impending

future injury-in-fact traceable to Defendants’ conduct. See supra Argument I.

        Finally, Plaintiffs’ delay in seeking preliminary relief weighs heavily against any argument that

they might suffer imminent, irreparable injury absent emergency relief. A party seeking a preliminary

injunction “must generally show reasonable diligence,” Benisek v. Lamone, 585 U.S. 155, 159 (2018),

and accordingly numerous courts in the Fifth Circuit have held that “[d]elay in seeking a remedy is an

important factor bearing on the need for a preliminary injunction. Absent a good explanation, a

substantial period of delay militates against the issuance of a preliminary injunction by demonstrating

that there is no apparent urgency to the request for injunctive relief.” Anyadike v. Vernon Coll., 2015

WL 12964684, at *3 (N.D. Tex. Nov. 20, 2015). “[A]nywhere from a three-month delay to a six-month

delay [is] enough to militate against issuing injunctive relief.” Leaf Trading Cards, LLC v. Upper Deck

Co., 2019 WL 7882552, at *2 (N.D. Tex. Sept. 18, 2019) (collecting cases).18 Plaintiffs have already


18
  See also, e.g., Anyadike, 2015 WL 12964684, at *3 (“several-month delay in filing . . . militates against
a finding of irreparable harm”); H.D. Vest, Inc. v. H.D. Vest Mgmt. & Servs., LLC, 2009 WL 1766095,


                                                    30
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 39 of 58 PageID #: 930



delayed twice in this case: first, in waiting years after many of the relevant events, which largely

occurred between 2020 and 2022, to file this lawsuit; and second, in waiting two months after filing

this lawsuit to seek a preliminary injunction and expedited discovery. Plaintiffs’ Motion makes no

attempt to justify these delays, or to explain why they now require this Court’s intervention on an

expedited basis, when they were in no particular rush in the preceding months and years.

III.    Plaintiffs fail to demonstrate a likelihood of success on the merits of their claims.

        A. Media Plaintiffs are unlikely to succeed on their First Amendment claims.

        Even if Media Plaintiffs had standing to seek injunctive relief and had shown imminent

irreparable harm, they are unlikely to succeed on the merits of their First Amendment claims for the

simple reason that the claimed censorship of their speech is not attributable to state action. Media

Plaintiffs’ arguments to the contrary are both factually incorrect and unsupported by First Amendment

caselaw.

        The Free Speech Clause of the First Amendment applies only to “governmental abridgment of

speech”; it “does not prohibit private abridgement of speech.” Manhattan Cmty. Access Corp. v. Halleck,

587 U.S. 802, 808 (2019). Private action is attributable to the government, and subject to constitutional

restraints, in only limited circumstances. See, e.g., Blum v. Yaretsky, 457 U.S. 991, 1004 (1982) (“Our

precedents indicate that a State normally can be held responsible for a private decision only when it

has exercised coercive power or has provided such significant encouragement, either overt or covert,

that the choice must in law be deemed to be that of the State.”); Brentwood Acad. v. Tenn. Secondary Sch.

Athletic Ass’n, 531 U.S. 288, 296 (2001) (holding that private party is deemed a state actor when it


at *4 (N.D. Tex. June 23, 2009) (delay of almost five months undercut assertion of irreparable harm);
Pals Grp., Inc. v. Quiskeya Trading Corp., 2017 WL 532299, at *6 (S.D. Fla. Feb. 9, 2017) (three-month
delay “is by itself sufficient grounds to deny its request for an injunction”); Seiko Kabushiki Kaisha v.
Swiss Watch Int’l, Inc., 188 F. Supp. 2d 1350, 1356 (S.D. Fla. 2002) (finding that a “three-month delay .
. . undercuts any sense of urgency”); Millennium Funding, Inc. v. 1701 Mgmt. LLC, 2021 WL 3618227, at
*10 (S.D. Fla. Aug. 16, 2021) (“[I]t is not uncommon for courts to deny a preliminary injunction in
the face of unexplained delays of more than two months.”) (collecting cases).
                                                   31
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 40 of 58 PageID #: 931



“operates as a ‘willful participant in joint activity with the State or its agents.’”). Under the proper legal

analysis and a correct view of the facts, it is plain that Defendants have not violated the First

Amendment.

            1. Media Plaintiffs are unlikely to show that Defendants “exercised coercive
               power” over private parties or provided “such significant encouragement” as
               to convert private conduct into government action.

        Media Plaintiffs cannot show that Defendants are engaged in “coercion” or providing such

“significant encouragement” to private parties as to convert private actions to ones of the government.

Media Plaintiffs gesture to Blum v. Yaretsky, 457 U.S. 991 (1982), and baldly assert that “the evidence

indicates GEC significantly encouraged the use of the censorship technology, which renders the third-

party conduct state action.” PI Mot. at 32. But Media Plaintiffs fail to demonstrate that GEC had the

type of control over GDI or NewsGuard—much less over other entities that use GDI’s or

NewsGuard’s products—to meet Blum’s high bar (let alone that any GEC funding targeted domestic

speech that would implicate Media Plaintiffs).

        At the outset, Media Plaintiffs do not expressly argue that Defendants engaged in coercion.

See id. at 21–33. Nor could they. To amount to coercion, the government must have “compelled [a]

decision by, through threats or otherwise, intimating that some form of punishment will follow a

failure to comply.” Missouri v. Biden, 83 F.4th 350, 380 (5th Cir. 2023), cert. granted sub nom., Murthy v.

Missouri, 144 S. Ct. 7 (2023); see Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 62–63 (1963) (holding that a

state entity’s threat to refer a book distributor to the state Attorney General, among other things, if

the distributor did not take certain books off the shelf, was coercive). Any such argument would fail

at the jump because Media Plaintiffs allege no threat or intimidation from GEC to GDI or

NewsGuard (or any threat or intimidation from GDI and NewsGuard to social media companies and

advertisers) that would suggest that Defendants previously have or are now compelling such third-

party companies to “downgrade” Media Plaintiffs’ content or stop advertising on Media Plaintiffs’


                                                     32
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 41 of 58 PageID #: 932



platforms. See supra Background I.C; Argument I; Skibinski Decl. ¶ 39 (“While the plaintiffs claim that

these supposedly government-directed determinations led to them losing advertising revenue, if they

did indeed lose such revenue, it is due not to the government’s actions but to their own [choices].”).

With no government request or instruction—let alone any intimation that punishment would follow

from a failure to comply—Media Plaintiffs cannot prevail on a theory that Defendants are engaged in

coercion. See Missouri, 83 F.4th at 377–78.

        Nor can Media Plaintiffs demonstrate “significant encouragement.” The Fifth Circuit has held

that “[t]o constitute ‘significant encouragement,’ there must be such a ‘close nexus’ between the parties

that the government is practically ‘responsible’ for the challenged decision.” Id. at 374 (quoting Blum,

457 U.S. at 1004). The government does not significantly encourage a private party through “[m]ere

approval of or acquiescence in the initiatives.” Blum, 457 U.S. at 1004–05; Rendell-Baker v. Kohn, 457

U.S. 830, 841 (1982) (“Acts of such private contractors do not become acts of the government by

reason of their significant or even total engagement in performing public contract.”); Am. Mfrs. Mut.

Ins. Co. v. Sullivan, 526 U.S. 40, 54 (1999) (“[P]ermission of a private choice cannot support a finding

of state action.”). Rather, the Fifth Circuit has held that the “the government must exercise some

active, meaningful control over the private party’s decision” for the choice to be considered that of

the state. Missouri, 83 F.4th at 374.19

        Media Plaintiffs cannot make such a showing because GEC does not exert any sort of

“meaningful, active control,” see id. at 376, over the development or use of the so-called “censorship

technologies” of which Media Plaintiffs complain, or any ensuing decisions regarding Media Plaintiffs

made by the companies that decided to use these technologies. First take GDI. Media Plaintiffs assert



19
   The United States argued before the Supreme Court that the Fifth Circuit misinterpreted the
“significant encouragement” standard in Missouri v. Biden. See Br. for the Petitioners, Murthy v. Missouri,
No. 23-411 (2023). Nevertheless, Media Plaintiffs cannot meet the Fifth Circuit’s interpretation of this
standard.
                                                    33
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 42 of 58 PageID #: 933



that they were harmed by GDI’s Dynamic Exclusion List because corporations that subscribe to that

List have chosen not to advertise with Media Plaintiffs based on their (unconfirmed) presence on it.

But as discussed above, GEC did not then and does not now have any control over the U.S.-based

GDI Inc’s decision to create the Dynamic Exclusion List, nor any such control over the corporations

choosing to purchase the list, or those opting not to advertise with Media Plaintiffs—as to make these

independent decisions ones of the federal government. See Rogers Decl. ¶ 7; La. Div. Sons of Confederate

Veterans v. City of Natchitoches, 821 F. App’x 317, 319–20 (5th Cir. 2020) (business association’s decision

to deny the Sons of Confederate Veterans from marching in a parade after considering a letter from

a Mayor that asked the association to “prohibit the display of the Confederate battle flag in that year’s

parade” did not amount to “sufficiently strong ‘encouragement’” under Blum). Thus, Media Plaintiffs

cannot even show “[m]ere approval of or acquiescence” in these decisions—which itself is insufficient

for a showing of state action. Blum, 457 U.S. at 1004–05. With no indication that Defendants had any

involvement (let alone active, meaningful control) over the decisions surrounding U.S.-based GDI

Inc.’s Dynamic Exclusion List—and much less the companies that purportedly choose not to

advertise with those on the Dynamic Exclusion List—the actions of these entities cannot be deemed

ones of the federal government. See Missouri, 83 F.4th at 374–75.

        The same holds true for NewsGuard. Media Plaintiffs maintain they were harmed by

NewsGuard’s Nutrition Labels database (which rates domestic news outlets), because advertisers

withhold revenue from them, and social media companies deprioritize them, as a result of their ratings.

But there is no connection between the GEC subgrant to NewsGuard and NewsGuard’s ratings of

domestic media outlets. See, e.g., Skibinski Decl. ¶ 36 (“During the course of the project, however,

nobody at Park Advisors, NSIN, GEC, the United States Cyber Command, CNMF, PeakMetrics, or

Omelas aided, assisted, helped, or otherwise took any action to improve or develop NewsGuard’s

website ratings.”). And with no nexus between the government and the challenged private action,


                                                    34
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 43 of 58 PageID #: 934



NewsGuard’s choice, or the choice of any potential advertiser or social media company which looks

at NewsGuard’s products, cannot be attributed to Defendants. Id. ¶ 39 (“Nobody from the GEC,

CNMF, or any other government agency was in any way involved in these determinations.”); City of

Natchitoches, 821 F. App’x at 319–20.

        Without any evidence that Defendants are exercising any control over GDI, NewsGuard, or

third-party advertising companies, Media Plaintiffs have no likelihood of succeeding on their claim

that Defendants “coerce” or “so significant[ly] encourage” social media companies or advertisers to

restrict, downgrade, or demonetize any American speech or any American press, such that the actions

taken by any third-party companies “must in law be deemed to be [those] of the [government].” Blum,

457 U.S. at 1004.

            2. Media Plaintiffs cannot show “joint action” between GEC, tech companies,
               and undefined “users” of tech companies’ products.

        For similar reasons, Media Plaintiffs cannot make a showing that GEC engages in “joint

action” with private parties. See PI Mot. at 32. Under the joint action doctrine, private parties can be

deemed to be state actors when their conduct is vested with governmental authority or otherwise

closely intertwined with action by government officials. See, e.g., Brentwood Acad., 531 U.S. at 296. There

are a few types of cases in which the Supreme Court found joint action.

        In the first category, courts have held that an action by a private party that harms the plaintiff

constitutes state action if “the State provided a mantle of authority that enhanced the power of the

harm-causing individual actor,” NCAA v. Tarkanian, 488 U.S. 179, 192 (1988). In Lugar v. Edmondson

Oil Co., 457 U.S. 922 (1982), for example, the Supreme Court held that a corporation was a state actor

when, exercising authority conferred on it by state law and in conjunction with state officials, it

obtained a prejudgment attachment of property to satisfy what it claimed was a debt. Id. at 941–42.

Although Plaintiffs rely on Lugar, they make no effort to show that the government conferred any

authority onto GDI and NewsGuard, much less onto far-removed third parties such as the advertisers

                                                    35
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 44 of 58 PageID #: 935



that decline to patronize Media Plaintiffs, so as to transform private conduct into state action.

        In a handful of other cases, courts have found that private parties engaged in state action—

even absent a governmental “enhance[ment]” of their power, Tarkanian, 488 U.S. at 192—on the

theory that the government had “so far insinuated itself into a position of interdependence with” the

private party “that it must be recognized as a joint participant in the challenged activity,” Burton v.

Wilmington Parking Auth., 365 U.S. 715, 725 (1961). In Burton, the Supreme Court held that “a

restaurant’s refusal to serve [Black customers] constituted state action since, among other things, the

restaurant was located on the premises of a public parking garage and the garage profited from the

discriminatory conduct of the restaurant.” Frazier v. Bd. Of Trs. of N.W. Miss. Reg. Med. Ctr., 765 F.2d

1278, 1285 (5th Cir. 1985). Plaintiffs make the broad, conclusory, and factually unsupported assertion

that “Defendants ‘so far insinuated’ themselves into the private affairs of the tech companies—both

the developers and the users of the CPD tools and technology—that the line between public and

private action is blurred.” PI Mot. at 32. But there is nothing like the sort of “interdependence” that

Burton requires to show state action—GEC has had no control over GDI and NewsGuard’s

technologies which Media Plaintiffs allege have caused them harm, nor control over the decisions

made by users of those technologies. See supra Background I.

        Finally, a private entity may also be deemed a state actor when it “operates as a ‘willful

participant in joint activity with the State or its agents.’” Brentwood Acad., 531 U.S. at 296. There must

be such a level of intertwinement that “any act of the private entity will be fairly attributable to the

state even if it cannot be shown that the government played a direct role in the particular action

challenged.” Frazier, 765 F.2d at 1288 n.22. The Fifth Circuit recognized that this test is an exceedingly

high bar. Missouri, 83 F.4th at 375 n.11 Thus, the joint action doctrine is even harder to satisfy than

the “significant encouragement” or “coercion” tests and requires a plaintiff to plead and prove

“substantial integration between the two entities in toto.” Id. For the reasons discussed above, Media


                                                   36
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 45 of 58 PageID #: 936



Plaintiffs cannot demonstrate significant government involvement in a particular challenged action.

See supra Argument III.A.1. And they are even less likely to prevail on the argument that there is

“pervasive entwinement” between Defendants and such far-removed third parties as the advertisers

that decline to patronize Media Plaintiffs such that every decision of those parties becomes one of the

federal government. Missouri, 83 F.4th at 375 n.11. To find that GEC engages in “joint action” with

every named and unnamed company that develops or uses tools and technology for countering foreign

disinformation and propaganda would eliminate the distinction between public and private action.

Media Plaintiffs’ argument should be rejected. Manhattan Comm. Access Corp., 587 U.S. at 808–09.

            3. Defendants did not directly violate the First Amendment.

        In apparent acknowledgment that they cannot meet the demands of the state-action doctrine,

Media Plaintiffs claim the only relevant inquiry is whether Defendants’ actions have the consequence

of abridging First Amendment rights. PI Mot. at 30; Compl. ¶ 201 (“[W]hat matters . . . is whether the

government’s actions have had the consequence of abridging Freedom of Speech or Freedom of the

Press, not whether it has acted directly, not whether a private partner has become a government actor,

and not whether government has acted coercively or with undue pressure.”). Thus, they assert that

Defendants directly engage in viewpoint-based discrimination and impose a de facto prior restraint on

speech because they have “funded GDI’s infrastructure, funded GDI and NewsGuard’s testing on

Disinfo Cloud, and otherwise assisted, tested, promoted, and marketed GDI and NewsGuard, whose

ranking technologies direct the public and advertisers away from Media Plaintiffs.” PI Mot. at 26–27.20


20
  Media Plaintiffs also conjecture that GEC, among other activities, “may be assisting and encouraging
web browsers and social media companies to adopt technology that hides the Daily Wire and the
Federalist’s reporting.” PI Mot. at 25-26. Such speculation is insufficient to warrant a preliminary
injunction or to even maintain a complaint. Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 997
(5th Cir. 1985) (concluding that “there must be more than an unfounded fear on the part of the
applicant” to issue a preliminary injunction); Bailey v. Mansfield Indep. Sch. Dist., 425 F. Supp. 3d 696,
712 (N.D. Tex. 2019) (even on a motion to dismiss, “a court is not to strain to find inferences favorable
to the plaintiff and is not to accept conclusory allegations, unwarranted deductions, or legal
conclusions.”), appeal dismissed sub nom. Bailey v. Vaszauskas, 2020 WL 3053942 (5th Cir. Feb. 28, 2020).
                                                   37
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 46 of 58 PageID #: 937



But Media Plaintiffs cite no case which supports their theory that the government can violate the First

Amendment based upon third parties’ reactions to government speech or funding.

        In fact, caselaw confirms just the opposite. The crux of Media Plaintiffs’ argument is that

GEC’s speech and funding dissuaded private persons and companies from giving their business to,

supporting, or reading The Daily Wire and The Federalist, thereby limiting Media Plaintiffs’ speech

and circulation. Id. at 25-27. But “urging, encouraging, pressuring or even inducing action does not

violate the Constitution unless and until such conduct crosses the line into coercion or significant

encouragement.” Missouri, 83 F.4th at 395. Moreover, “[w]hen government speaks, it is not barred by

the Free Speech Clause from determining the content of what it says.” Walker v. Tex. Div., Sons of

Confederate Veterans, Inc., 576 U.S. 200, 207-08 (2015); Kennedy v. Warren, 66 F.4th 1199 (9th Cir. 2023)

(affirming the denial of a preliminary injunction after a United States Senator sent a letter to Amazon

requesting that it stop selling a “false or misleading” book because such a First Amendment claim was

unlikely to succeed on the merits); Penthouse Int’l, Ltd. v. Meese, 939 F.2d 1011, 1015 (D.C. Cir. 1991)

(concluding that statements made by the Attorney General’s Commission on Pornography, which led

the owners of 7-Eleven to stop selling Penthouse magazine, did not abridge Penthouse’s First

Amendment rights); Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 572, 583 (1998) (so long as the

Government’s funding decisions do “not silence speakers by expressly threaten[ing] censorship of

ideas,” or “introduce considerations that, in practice, would effectively preclude or punish the

expression of particular views,” they do not compromise First Amendment principles).

        In any event, Media Plaintiffs’ argument lacks a factual basis. Media Plaintiffs claim that

Defendants “funded GDI’s infrastructure, funded GDI and NewsGuard’s testing on Disinfo Cloud,

and otherwise assisted, tested, promoted, and marketed GDI and NewsGuard, whose ranking

technologies direct the public and advertisers away from Media Plaintiffs.” PI Mot. at 26–27. But GEC

did not fund GDI’s infrastructure, Rogers Decl. ¶ 7 (“GDI’s infrastructure costs were borne entirely


                                                   38
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 47 of 58 PageID #: 938



out of other, private sources of funding”), nor did it fund any testing of GDI’s or NewsGuard’s

technologies that rank American news sources or “direct the public and advertisers away from Media

Plaintiffs,” see PI Mot. at 26; Rogers Decl. ¶ 4 (explaining that GEC’s subaward to GDI was to “expand

GDI’s disinformation risk measurement to a broader set of countries in East Asia and Europe”);

Skibinski Decl. ¶ 25 (attesting that its 2020 subaward under the GEC grant “was limited to monitoring

foreign state-sponsored sources of disinformation—with no focus on domestic news sources”).

        Media Plaintiffs are thus left to argue that Defendants violated the First Amendment by

promoting and marketing GDI and NewsGuard. PI Mot. at 26–27, 29–30. Media Plaintiffs point to a

statement of the Director of TET about GDI, a “tweet” from NewsGuard that was “retweeted” on

the Disinfo Cloud’s Twitter account, and a statement in the Disinfo Cloud Digest. Id. at 29–30. But

even assuming that these were the government’s own speech,21 government officials could not do

their jobs without expressing views—often on controversial topics—for themselves and their

agencies, and the First Amendment does not place a viewpoint-neutrality requirement on the

government’s own speech. See Missouri, 83 F.4th at 374 (noting that “‘the government can speak for

itself,’ which includes the right to ‘advocate and defend its own policies.’” (quoting Bd. of Regents of

Univ. of Wis. Sys. v. Southworth, 529 U.S. 217, 229, (2000)); Shurtleff v. City of Bost., 596 U.S. 243, 251–52

(2022). In fact, government officials may go as far as to “vigorously criticize a publication” or speaker

“for any reason they wish.” Penthouse, 939 F.2d at 1015.22 As such, these statements are nothing more


21
   As stated above, Park Advisors ran the Disinfo Cloud Digest and Disinfo Cloud Twitter account,
Kimmage Decl. ¶ 20, and Media Plaintiffs have not established that its actions are attributable to GEC.
22
   Although government officials may criticize publications and speakers, see id., the speech alleged
here comes nowhere close to criticizing Media Plaintiffs or encouraging others away from their
platform. Indeed, Plaintiffs do not claim that this speech even mentioned Media Plaintiffs in any
statement or publication. Rather, Media Plaintiffs allege that Patricia Watts, the Director of TET
stated, “we encourage [those listening] to engage with all eight companies featured during the tech
challenge to determine if there are opportunities to support their counter-disinformation work. Their
work benefits us all in building a better information environment, so please do reach out to them or
to us.” Compl. ¶ 132. NewsGuard’s tweet—which was retweeted by Disinfo Cloud’s Account—states


                                                     39
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 48 of 58 PageID #: 939



than permissible speech.

        To be sure, the government may not “do that indirectly which [it] is forbidden . . . to do

directly.” Polar Tankers, In. v. City of Valdez, 557 U.S. 1, 8 (2009). Because the government could go so

far as “vigorously criticizing” Media Plaintiffs themselves, however, it would not be constitutionally

improper for Defendants to fund private entities that might do so. Penthouse, 939 F.2d at 1015. And

regardless, this is not the story that the facts bear out. See supra Background I. Media Plaintiffs are thus

unlikely to prevail on their claim the Defendants are directly violating the First Amendment.

                                                   ***

        At bottom, Media Plaintiffs ask this Court to hold that Defendants’ permissible speech and

discrete grants of money for legitimate purposes (which are unrelated to Media Plaintiffs’ complaints)

transformed the actions of private entities—and the actions of other private individuals reacting to

those private entities—into ones of the government. That surprising suggestion runs counter to

longstanding Supreme Court precedent. See, e.g., Blum, 457 U.S. at 1004. Not only that, it would

constitutionalize a wide range of legitimate, First Amendment-protected private activity, thereby

turning bedrock free speech principles on their head. Media Plaintiffs’ attempt at rewriting First

Amendment precedent should be roundly rejected.

        B. Plaintiffs are unlikely to succeed on their APA and Ultra Vires claims.

        Plaintiffs are also unlikely to succeed on their APA and ultra vires claims that Defendants are




that NewsGuard was releasing a paper that “independent research show[ed] that human-curated news
reliability ratings help mitigate false news.” PI Mot. Ex. P at 107, ECF No. 11-17. And the statement
in the Disinfo Cloud Digest merely references a NewsGuard product. See PI Mot. Ex. R at 117, ECF
No. 11-19 (“NewsGuard launched a new tool, Responsible Advertising for News Segments (RANS),
to help advertising companies avoid websites known to host or produce mis/disinformation.”). Such
mundane speech, which does not even reference Media Plaintiffs, does not violate Media Plaintiffs’
First Amendment rights. Walker, 576 U.S. at 207–08.


                                                    40
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 49 of 58 PageID #: 940



exceeding their statutory authority.23 See PI Mot. at 17 (discussing 5 U.S.C. § 706(2)(C)); Compl. ¶¶

283–300 (Count Three), id. ¶¶ 301–05 (Count Four). As a threshold jurisdictional matter, Plaintiffs’

APA claim fails because they have not identified a discrete final agency action that they challenge. On

the merits of both claims, Plaintiffs have not demonstrated that any of Defendants’ conduct has in

the past or is now exceeding their clear statutory authority to identify and combat foreign malign

disinformation campaigns.

            1. Plaintiffs have not identified any final agency action.

        The APA limits judicial review to “final agency action,” 5 U.S.C. § 704, which is a jurisdictional

requirement in the Fifth Circuit, Qureshi v. Holder, 663 F.3d 778, 781 (5th Cir. 2011). Agency action is

final if it is one: “(1) [that] ‘mark[s] the consummation of the agency’s decisionmaking process,’ and

(2) ‘by which rights or obligations have been determined, or from which legal consequences will flow.’”

Sierra Club v. Peterson, 228 F.3d 559, 565 (5th Cir. 2000) (quoting Bennett v. Spear, 520 U.S. 154, 178

(1997)). Plaintiffs’ APA claim fails as a matter of law because they have not identified the final agency

action or actions that they challenge.

        The relevant paragraph in the complaint identifies the “final agency action” here as

“Defendants’ secretive scheme to suppress, defame, defund, discredit, and reduce the circulation of a

segment of the press” by “funding, marketing, and/or promoting censorship tools, technology and

censorship enterprises” in the United States. Compl. ¶ 260. Even assuming that Defendants were

doing anything of the sort (they are not), this generalized and inchoate attack on an ill-defined ongoing

course of conduct constitutes the kind of challenge to “the continuing (and thus constantly changing)

operations” of a federal agency that the Supreme Court and the Fifth Circuit have rejected for failing

to identify a specific and discrete final agency action. Sierra Club, 228 F.3d at 566; see Lujan v. Nat’l


23
  Plaintiffs’ contention that Defendants violate the APA by exceeding their constitutional authority
(Count Five), see PI Mot. at 17, is duplicative of their standalone First Amendment claims and fails for
the same reasons that those do. See supra Argument III.A.
                                                   41
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 50 of 58 PageID #: 941



Wildlife Found., 497 U.S. 871, 899 (1990) (final action must be “an identifiable action or event”); Norton

v. S. Utah Wilderness All., 542 U.S. 55, 62 (2004) (APA limits judicial review to “circumscribed, discrete

agency actions”). In other words, Plaintiffs’ wholesale challenge to an undefined “secretive scheme,”

Compl. ¶ 260, “is not a justiciable challenge because the program [to which Plaintiffs] object does not

‘mark the consummation of the agency’s decisionmaking process,’ or constitute ‘an identifiable action

or event.’” Sierra Club, 228 F.3d at 566 (quoting Bennett, 520 U.S. at 178, and Lujan, 497 U.S. at 899).

“Instead, as in Lujan, [Plaintiffs] have impermissibly attempted to ‘demand a general judicial review of

the [State Department’s] day-to-day operations.’” Id. (quoting Lujan, 497 at 899). The APA does not

grant federal courts that power. Nor is Plaintiffs’ “programmatic challenge made justiciable by the fact

that [they have] identified some specific” actions that Defendants took several years ago, such as those

in connection with the subawards to GDI Ltd. or to NewsGuard, “that they [might] argue are final

agency actions.” Id. at 567. This Court should reject these invitations to ignore the “institutional limits

on courts which constrain [their] review to narrow and concrete actual controversies.” Id. at 566.

            2. Defendants have not exceeded their statutory authority.

        On the merits, Plaintiffs have failed to demonstrate that Defendants have previously or are

now exceeding their statutory authority. The State Department is responsible for the management of

foreign affairs. 22 U.S.C. §§ 2651, 2656. In line with that mandate, GEC is statutorily charged with

leading and coordinating the federal government’s efforts to recognize, expose, and counter “foreign

state and non-state propaganda and disinformation efforts aimed at undermining or influencing the

policies, security, or stability” of the United States and its allies, including through the use of “a wide

range of technologies.” Id. § 2656 note (Global Engagement Center). GEC has explicit grant-making

authority to carry out its mission. Id. § (f). As explained at length, all of GEC’s activities at issue in this

lawsuit—the awards to GDI Ltd. and to NewsGuard in connection with its Testbed and Tech

Challenges initiatives; its tech demos; the Disinfo Cloud platform; and its engagement with private-


                                                      42
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 51 of 58 PageID #: 942



sector technology companies whose websites can be potent vectors for the spread of foreign

disinformation narratives overseas—were consistent with and furthered that critical national security

mission.

        The same misstatements of fact that plague Plaintiffs’ theories of standing and state action for

First Amendment purposes doom their contentions that Defendants are in any way exceeding their

broad statutory mandates. In particular, Plaintiffs’ claims all rest on the profoundly incorrect premise

that Defendants have targeted, or are targeting, either directly or indirectly, their speech or press

freedom. See generally PI Mot. at 18–20 (asserting that Defendants “research, assess, test, market, or

promote tools and technologies that target Americans’ speech or the American press”; help develop

technology to do the same; “discuss with [Silicon Valley] tech companies concerns about” American

speech; or generally “reduce or lessen the reach” of American speech). But Plaintiffs’ evidence does

not support even the barest inference that Defendants have done or continue to do any such thing,

let alone establish a substantial likelihood of success on the merits.

        Finally, as an alternative to challenging final agency action under the APA, Plaintiffs’ Motion

makes a passing reference to their non-statutory ultra vires claim, which is based on the same theory

that Defendants acted beyond their statutory authority. See PI Mot. at 17 (referencing “count[] three”

without further analysis). Plaintiffs’ Motion does not discuss this claim but instead appears to use the

phrase “ultra vires” as shorthand for an ordinary APA claim arising under 5 U.S.C. § 706(2)(C),

challenging agency action in excess of statutory authority. In any event, assuming they can bring a

non-statutory ultra vires claim,24 it is duplicative of the APA claim and fails for the reasons just


24
   The Fifth Circuit and the Supreme Court have both historically expressed doubts about whether
non-statutory ultra vires review remains available in light of the 1976 amendments to the APA. See Geyen
v. Marsh, 775 F.2d 1303, 1307 (5th Cir. 1985) (recognizing that the “principal purpose” of the 1976
Amendments—which “waived sovereign immunity for suits seeking nonmonetary relief through
nonstatutory judicial review of agency action”—“was to do away with the ultra vires doctrine and other
fictions surrounding sovereign immunity” (citing Act of Oct. 21, 1976, Pub. L. No. 94-574, § 1, 90


                                                   43
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 52 of 58 PageID #: 943



explained. Moreover, ultra vires claims are subject to an even more demanding standard that Plaintiffs

do not come close to meeting. To state an ultra vires claim, “a plaintiff must ‘do more than simply

allege that the actions of the officer are illegal or unauthorized.’” Danos v. Jones, 652 F.3d 577, 583 (5th

Cir. 2011) (quoting Ala. Rural Fire Ins. Co. v. Naylor, 530 F.2d 1221, 1226 (5th Cir. 1976)). Rather, a

plaintiff “must allege facts sufficient to establish that the officer was acting ‘without any authority

what[so]ever,’ or without any ‘colorable basis for the exercise of authority.’” Id. (quoting Pennhurst, 465

U.S. at 101 n.11). This is an extraordinarily difficult standard to meet; ultra vires review is available only

for the most blatant violations of law. Oestereich v. Selective Serv. Sys. Loc. Bd. No. 11, 393 U.S. 233, 238

(1968) (challenged action must be “blatantly lawless” or a “clear departure” from agency’s statutory

mandate).25 Nothing in the record establishes a likelihood that any of Defendants’ conduct meets this

exacting standard.

IV.     The balance of equities and the public interest disfavor a preliminary injunction.

        The remaining two preliminary injunction factors—the balance of the equities and the public

interest—“merge when the Government is the opposing party” and weigh sharply in Defendants’

favor. See Nken v. Holder, 556 U.S. 418, 435 (2009). As an initial matter, because Plaintiffs cannot

establish the first two factors necessary to obtain an injunction, “it is clear they cannot make the

corresponding strong showings [on the second two factors] required to tip the balance in their favor.”

Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1295 (D.C. Cir. 2009); Mayo Found. for Med. Educ. &

Rsch. v. BP Am. Prod. Co., 447 F. Supp. 3d 522, 535 (N.D. Tex. 2020) (declining to address the final

two Winter factors because the plaintiff could not establish the first two factors).



Stat. 2721, 2721 (codified at 5 U.S.C. § 702 (1982)))); see also Pennhurst State Sch. & Hosp. v. Halderman,
465 U.S. 89, 116 (1984) (noting that “the ultra vires doctrine [is] a narrow and questionable exception”
to sovereign immunity).
25
   See also Leedom v. Kyne, 358 U.S. 184, 188 (1958); Nyunt v. Chairman, Broad. Bd. of Governors, 589 F.3d
445, 449 (D.C. Cir. 2009) (Kavanaugh, J.) (an ultra vires claim is “essentially a Hail Mary pass” that
“rarely succeeds”; the agency’s error must be “so extreme” that it is “jurisdictional or nearly so”).
                                                     44
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 53 of 58 PageID #: 944



        But even if Plaintiffs could satisfy one or both of those factors, the remaining factors tip

decisively in Defendants’ favor. Although First Amendment rights when they are genuinely at risk are

in the public interest, the speculative risk of harm to Plaintiffs’ asserted interests must be weighed

against the obstruction of legitimate government functions that could result if the Court entered

Plaintiffs’ proposed injunction. See Winter, 555 U.S. at 24 (“In exercising their sound discretion, courts

of equity should pay particular regard for the public consequences in employing the extraordinary

remedy of injunction.” (citations omitted)).

        As also shown in the discussion of the proposed injunction’s overbreadth, infra Argument

II.D, Plaintiffs’ proposed injunction could significantly hinder GEC’s ability to combat foreign state

and non-state propaganda and disinformation overseas. Kimmage Decl. ¶ 25. (“If the proposed

preliminary injunction prohibited GEC from taking any action to test or use technology to counter

disinformation and propaganda overseas” that could, through “events outside of the GEC’s control,

someday be used by third parties in the United States, it would severely constrain GEC’s ability to

carry out its statutorily mandated mission.”). For example, under a broad reading of the proposed

preliminary injunction, GEC’s efforts to identify technology to counter the misuse of artificial

intelligence by foreign adversaries could be considered “encourag[ing] the development or use of

technology” targeting American speech to the extent such technology could also be used in a domestic

context, even if that was not the purpose or effect of GEC’s effort. Id. ¶ 24.

        Countering foreign state and non-state disinformation and propaganda is of critical concern

to the United States, id. ¶ 5, and GEC’s work in this regard helps to ensure that foreign actors do not

undermine the “policies, security, or stability of the United States and United States allies and partner

nations,” 22 U.S.C. § 2656 note (Global Engagement Center). These government activities help

protect the nation’s welfare and safety and outweigh Plaintiffs’ speculative First Amendment harms.

Kimmage Decl. ¶¶ 24–25; Def. Distributed v. U.S. Dep’t of State, 838 F.3d 451, 459 (5th Cir. 2016)


                                                   45
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 54 of 58 PageID #: 945



(holding that any First Amendment interest by plaintiffs was outweighed by national security interests).

Accordingly, the balance of the equities and the public interest weigh heavily against granting the relief

Plaintiffs seek.

V.      Plaintiffs’ proposed injunction is improper.

        Plaintiffs’ proposed injunction is not only contrary to the public interest but also improper for

two additional reasons. First, the proposed injunction lacks the specificity required by Federal Rule of

Civil Procedure 65(d)(1). Second, the proposed injunction is substantially overbroad because it would

needlessly interfere with the performance of lawful Executive Branch activities that protect national

security.

        A. The proposed injunction is imprecise.

        Rule 65(d)(1) requires “[e]very order granting an injunction” to “state its terms specifically,”

and “describe in reasonable detail—and not by referring to the complaint or other document—the

act or acts restrained or required.” As the Supreme Court has explained, these are “no mere technical

requirements”; they serve the vital purpose of giving proper notice to those subject to court orders so

that they may act without fear of being found in contempt. Schmidt v. Lessard, 414 U.S. 473, 476 (1974);

see also Scott v. Schedler, 826 F.3d 207, 213–14 (5th Cir. 2016) (an injunction “must describe in reasonable

detail the acts restrained or required” and identify what specific policies are enjoined).

        Plaintiffs’ requested injunction falls far short of Rule 65(d)’s requirements. Before all else, it is

unclear what broad array of activity Plaintiffs seek to enjoin. Plaintiffs’ Motion requests that the Court

enjoin Defendants “from continuing to research, assess, fund, test, market, promote, host on [their]

government platform, and/or otherwise assist with or encourage the development or use of

technology that targets in whole, or in part, Americans’ speech or the American press.” PI Mot. at 3.

But Plaintiffs’ proposed order requests that the Court enjoin Defendants from “developing, funding,

testing, maintaining, storing, highlighting, promoting, using, or encouraging, urging, pressuring, or


                                                    46
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 55 of 58 PageID #: 946



otherwise inducing others to use, technology to track, rate, rank, silence, assess, counter, amplify, de-

amplify, deplatform, de-boost, demonetize, suspend, shadow ban, de-boost, restrict, limit, reduce

access to, or otherwise abridge the lawful speech of the American press and Americans.” Proposed

Order ¶ 2, ECF No. 11-42.

        Plaintiffs compound this problem by using undefined, vague terms. If Defendants are to

understand these undefined terms, such as “promote,” “assist with,” “encourage,” or “induce,” by

reference to the immense swath of conduct that, in Plaintiffs’ view, violates the First Amendment,

those terms could encompass any form of government expression. The injunction thus risks enjoining

permissible government action and speech, see supra Argument III.A.3, and it is “axiomatic that an

injunction is overboard if it enjoins a defendant from engaging in legal conduct.” Missouri, 83 F.4th at

395. Plaintiffs further seek to enjoin Defendants from “assist[ing]” or “encourag[ing]” conduct, PI

Mot. at 3, but assisting or encouraging action “does not violate the Constitution unless and until such

conduct crosses the line into coercion or significant encouragement.” Missouri, 83 F.4th at 395.

        Further, by failing to define terms such as “assist,” “encourage,” or “promote,” Plaintiffs fail

to put the Defendants on reasonable notice of what conduct is proscribed and might improperly place

Defendants at risk of contempt. Nor do Plaintiffs define the terms “de-amplify,” “deplatform,” “de-

boost,” “demonetize,” “suspend,” “shadow ban,” “de-boost,” or “restrict.” And the fact the Plaintiffs’

proposed preliminary injunction fails to identify a single, concrete instance of ongoing government

action, a current government policy, or imminent policy decision to be enjoined underscores its

impermissibility. Plaintiffs’ proposed injunction thus fails to meet the requirements of Rule 65(d)(1).

        B. The proposed injunction is overbroad.

        Even if Plaintiffs’ proposed injunction were sufficiently precise, it would still be overbroad.

Although GEC does not engage in activities that restrict American speech or press, the proposed

injunction threatens to prevent GEC from performing functions essential to public safety and national


                                                   47
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 56 of 58 PageID #: 947



security. Thus, the injunction would defy established principles barring equitable relief that is “more

burdensome to the defendant[s] than necessary to provide complete relief to the plaintiffs.” Califano

v. Yamasaki, 442 U.S. 682, 702 (1979).

        The proposed injunction could interfere with key functions statutorily assigned to GEC.

Congress tasked GEC with “recogniz[ing], understand[ing], expos[ing], and counter[ing] foreign state

and non-state propaganda and disinformation efforts aimed at undermining or influencing the policies,

security, or stability of the United States and United States allies and partner nations.” 22 U.S.C. §2656

note (Global Engagement Center). More specifically, one of the statutorily-defined functions assigned

to GEC is to “[f]acilitate the use of a wide range of technologies and techniques by sharing expertise

among Federal departments and agencies, seeking expertise from external sources, and implementing

best practices.” 22 U.S.C. § 2656 note (Global Engagement Center). GEC’s ability to meet its

functions therefore “requires a cutting-edge understanding of the technologies our adversaries are

using and the technologies under development” required to respond. Kimmage Decl. ¶ 25. But the

proposed preliminary injunction threatens to prevent GEC from performing these activities because

it could “prohibit[] GEC from taking any action to test or use technology to counter disinformation

and propaganda overseas” that could, through “events outside of the GEC’s control, someday be used

by third parties in the United States.” Id.

        GEC, for example, is working to identify technology to counter the misuse of artificial

intelligence by foreign adversaries. Kimmage Decl. ¶ 24. Under a broad reading of the proposed

preliminary injunction, such activity could be considered “encourag[ing] the development or use of

technology” targeting American speech to the extent such technology could also be used in a domestic

context, even though that was not the purpose or effect of GEC’s effort. Id. Such a restriction does

not remedy the harm Plaintiffs claim, see supra Argument I, and is unnecessarily overboard. Scott, 826

F.3d at 211 (concluding that an injunction must be “narrowly tailor[ed] . . . to remedy the specific


                                                   48
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 57 of 58 PageID #: 948



action which gives rise to the order as determined by the substantive law at issue”).26

                                          CONCLUSION

        For these reasons, the Court should deny Plaintiffs’ motion for a preliminary injunction.

Dated: March 22, 2024                               Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Principal Deputy Assistant Attorney General

                                                    JAMES J. GILLIGAN
                                                    Special Litigation Counsel
                                                    Federal Programs Branch

                                                    JOSHUA E. GARDNER
                                                    Special Counsel
                                                    Federal Programs Branch

                                                    /s/ Arjun Mody
                                                    DOROTHY M. CANEVARI
                                                    CRISTEN C. HANDLEY
                                                    CODY T. KNAPP
                                                    ARJUN MODY
                                                    Trial Attorneys
                                                    United States Department of Justice
                                                    Civil Division, Federal Programs Branch
                                                    1100 L Street, N.W.
                                                    Washington, D.C. 20005
                                                    Tel: (202) 451-7723
                                                    Email: arjun.a.mody@usdoj.gov

                                                    Counsel for Defendants




26
   Plaintiffs also fail to explain why an injunction against federal employees sued in their official
capacity is necessary when they also seek to enjoin the agency where these individuals are employed.
There is nothing added by seeking to enjoin individuals sued in their official capacity where the agency
also would be subject to the proposed injunction.
                                                  49
Case 6:23-cv-00609-JDK Document 32 Filed 03/22/24 Page 58 of 58 PageID #: 949



                                   CERTIFICATE OF SERVICE

        On March 22, 2024, I electronically submitted this document to the clerk of court of the U.S.

District Court for the Eastern District of Texas using the court’s electronic case filing system. I certify

that I have served all parties electronically or by another manner authorized by Federal Rule of Civil

Procedure 5(b)(2).

                                                         /s/ Arjun Mody
                                                         ARJUN MODY




                                                    50
